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       the Department of Justice Bureau of
  12   Firearms
  13                     IN THE UNITED STATES DISTRICT COURT
  14                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  15
  16
  17
       JAMES MILLER, et al.,                         19-cv-1537 BEN-JLB
  18
                                       Plaintiffs,
  19
                    v.                               DECLARATION OF LUCY P.
  20                                                 ALLEN IN SUPPORT OF
                                                     DEFENDANTS’ OPPOSITION TO
  21   CALIFORNIA ATTORNEY                           MOTION FOR PRELIMINARY
       GENERAL XAVIER BECERRA,                       INJUNCTION
  22   et al.,
  23                                 Defendants.
  24
  25
  26
  27
  28

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   1                         DECLARATION OF LUCY P. ALLEN
   2   I, Lucy P. Allen, declare:
   3         1.     I am a Managing Director of NERA Economic Consulting (“NERA”),
   4   a member of NERA’s Securities and Finance Practice and Chair of NERA’s
   5   Product Liability and Mass Torts Practice. NERA provides practical economic
   6   advice related to highly complex business and legal issues arising from
   7   competition, regulation, public policy, strategy, finance, and litigation. NERA was
   8   established in 1961 and now employs approximately 500 people in more than 20
   9   offices worldwide.
  10         2.     In my over 20 years at NERA, I have been engaged as an economic
  11   consultant or expert witness in numerous projects involving economic and
  12   statistical analysis. I have been qualified as an expert and testified in court on
  13   various economic and statistical issues relating to the flow of guns into the criminal
  14   market. I have testified at trials in Federal District Court, before the New York City
  15   Council Public Safety Committee, the American Arbitration Association and the
  16   Judicial Arbitration Mediation Service, as well as in depositions.
  17         3.     I have an A.B. from Stanford University, an M.B.A. from Yale
  18   University, and M.A. and M. Phil. degrees in Economics, also from Yale
  19   University. Prior to joining NERA, I was an Economist for both President George
  20   H. W. Bush’s and President Bill Clinton’s Council of Economic Advisers. My
  21   resume with recent publications and testifying experience is included as
  22   Appendix A.
  23         4.     This declaration reports the results of my analyses with respect to the
  24   following issues: (a) the number of rounds of ammunition fired by individuals using
  25   a gun in self-defense; and (b) the outcomes when assault weapons (as defined under
  26   California law) and large-capacity magazines are used in public mass shootings,
  27   including the associated number of casualties.
  28
                                                   1
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   1                                        BACKGROUND
   2          5.     California law bans the manufacture, sale and possession of certain
   3   firearms, defined as assault weapons (“Assault Weapons”).1 California law defines
   4   Assault Weapons based on either their “make and model” or on certain “features.”2
   5   Plaintiffs, in this current case, are challenging the provisions of California law
   6   related to firearms that would qualify as Assault Weapons under California Penal
   7   Code sections 30515(a).3
   8          6.     California Penal Code section 30515(a) defines a semiautomatic,
   9   centerfire rifle as an Assault Weapon if it: (1) lacks a fixed magazine and has one or
  10   more listed features (e.g. a pistol grip); (2) has a fixed magazine with the capacity
  11   to accept more than 10 rounds of ammunition; or (3) has an overall length of less
  12   than 30 inches.4
  13          7.     California Penal Code section 30515(a) defines a semiautomatic pistol
  14   as an Assault Weapon if it: (1) lacks a fixed magazine and has a threaded barrel
  15   (capable of accepting a flash suppressor, a forward handgrip, or a silencer), a
  16   second handgrip, a barrel shroud, or the capacity to accept a detachable magazine at
  17   some location other than the pistol grip; or (2) has a fixed magazine with the
  18   capacity to accept more than 10 rounds of ammunition.5
  19          8.     California Penal Code section 30515(a) defines a shotgun as an
  20   Assault Weapon if it: (1) is semiautomatic and has both an adjustable stock (i.e.,
  21   folding or telescoping) and a pistol grip, thumbhole stock, or vertical handgrip; (2)
  22   1
         See California Penal Code sections 30600 & 30605. See, also, California Department of Justice:
  23   “What is considered an assault weapon under California law?” and “What are AK and AR-15
       series weapons?” https://oag.ca.gov/firearms/regagunfaqs, accessed October 25, 2018.
  24   2
         California Penal Code sections 30510 & 30515.
       3
  25     First Amended Complaint, ¶31. Magazines capable of accepting more than 10 rounds of
       ammunition are referred elsewhere in the California Penal Code as “large-capacity magazines.”
  26   See California Penal Code section 16740.
       4
         California Penal Code section 30515(a)(1)-(3). See, also, First Amended Complaint, ¶32.
  27   5
         California Penal Code section 30515(a)(4)-(5). See, also, First Amended Complaint, ¶32.
  28
                                                      2
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   1   is semiautomatic and has the ability to accept a detachable magazine; or (3) has a
   2   revolving cylinder.6
   3                                              OPINIONS
   4           A.     Number of rounds fired by individuals in self-defense
   5            9.      Plaintiffs claim the banned “large-capacity magazines” (which are
   6   magazines capable of holding more than ten rounds) are commonly used for lawful
   7   purposes, including for self-defense in the home.7
   8            10.     In Duncan v. Becerra, No. 17-cv-1017-BEN-JLB (S.D. Cal.), I
   9   prepared a declaration that was submitted in connection with plaintiffs’ motion for
  10   a preliminary injunction (dated June 5, 2017) and an expert report (dated October 6,
  11   2017), and I provided deposition testimony as an expert witness (dated January 18,
  12   2018). Below are my findings concerning the number of rounds fired in self-
  13   defense based on data that was current through May 2017 and relied upon for my
  14   declaration and expert report in Duncan v. Becerra.
  15            11.     The number of rounds commonly needed by individuals to defend
  16   themselves cannot be practically or ethically determined with controlled scientific
  17   experiments and there is no source that systematically tracks or maintains data on
  18   the number of rounds fired by individuals in self-defense. Due to these limitations, I
  19   have analyzed available data sources to estimate the number of rounds fired by
  20   individuals to defend themselves in the home. In particular, I have analyzed data
  21   from the NRA Institute for Legislative Action, the largest collection of accounts of
  22   citizen self-defense that I am able to find, as well as my own study of news reports
  23   on incidents of self-defense with a firearm. In all, I have analyzed almost 1,000
  24   incidents of self-defense with a firearm and found that it is rare for a person, when
  25   using a firearm in self-defense, to fire more than ten rounds.
  26
  27   6
           California Penal Code section 30515(a)(6)-(8). See, also, First Amended Complaint, ¶32.
       7
  28       See, for example, First Amended Complaint, ¶¶91 and 97.
                                                        3
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   1          12.     The NRA maintains a database of “Armed Citizen” stories describing
   2   private citizens who have successfully defended themselves, or others, using a
   3   firearm (“NRA Armed Citizen database”). According to the NRA, the “Armed
   4   Citizen” stories “highlight accounts of law-abiding gun owners in America using
   5   their Second Amendment rights to defend self, home and family.”8 Although the
   6   methodology used to compile the NRA Armed Citizen database of stories is not
   7   explicitly detailed by the NRA, and the database itself is not readily replicable, the
   8   NRA Armed Citizen database is a useful data source in this matter for at least three
   9   reasons. First, the Armed Citizen database is the largest collection of accounts of
  10   citizen self-defense compiled by others that I am able to find. Second, the incidents
  11   listed in the Armed Citizen database highlight the very conduct that Plaintiffs claim
  12   the California law impedes (i.e., the use of firearms by law-abiding citizens for self-
  13   defense).9 Third, the Armed Citizen database is compiled by an entity that actively
  14   opposes restrictions on magazine capacity and restrictions on the possession and
  15   use of firearms in general.10 In light of the positions taken by the entity compiling
  16   the data, I would expect that any selection bias would be in favor of stories that put
  17   use of guns in self-defense in the best possible light and might highlight the
  18   apparent need of guns and/or multiple rounds in self-defense incidents.
  19          13.     In addition to analyzing incidents in the NRA Armed Citizen database
  20   (2011 through May 2017), I performed my own systematic, scientific study of news
  21   reports on incidents of self-defense with a firearm in the home, covering the same
  22   time period.
  23
  24
       8
  25      NRA Institute for Legislative Action, Armed Citizens, https://www.nraila.org/gun-laws/armed-
       citizen/, accessed May 28, 2017.
  26   9
         First Amended Complaint, ¶39.
       10
  27      See, for example, NRA Civil Rights Defense Fund website,
       http://www.nradefensefund.org/current-litigation.aspx, accessed October 12, 2018.
  28
                                                      4
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   1          14.     My team and I performed an analysis of incidents in the NRA Armed
   2   Citizen database that occurred between January 2011 and May 2017. For each
   3   incident, the city/county, state, venue (whether the incident occurred on the street,
   4   in the home, or elsewhere) and the number of shots fired were tabulated.11 The
   5   information was gathered for each incident from both the NRA synopsis and, where
   6   available, an additional news story. An additional news story was found for over
   7   95% of the incidents in the NRA Armed Citizen database.
   8          15.     According to this analysis of incidents in the NRA Armed Citizen
   9   database, defenders fired 2.2 shots on average. Out of 736 incidents, there were two
  10   incidents (0.3% of all incidents), in which the defender was reported to have fired
  11   more than 10 bullets.12 In 18.2% of incidents, the defender did not fire any shots,
  12   and simply threatened the offender with a gun. For incidents occurring in the home
  13   (56% of total), defenders fired an average of 2.1 shots, and fired no shots in 16.1%
  14   of incidents.13 The table below summarizes these findings:
  15
  16
  17
  18
  19
       11
  20      The following incidents were excluded from the analysis: (1) duplicate incidents, (2) wild
       animal attacks, and (3) one incident where the supposed victim later pleaded guilty to covering up
  21   a murder. When the exact number of shots fired was not specified, we used the average for the
       most relevant incidents with known number of shots. For example, if the story stated that “shots
  22   were fired” this would indicate that at least two shots were fired and thus we used the average
       number of shots fired in all incidents in which two or more shots were fired and the number of
  23   shots was specified.
       12
          Note that the only two incidents with more than 10 bullets fired were added to the NRA Armed
  24   Citizen database in 2016 and 2017 after an earlier analysis that I had conducted of the database
       had been submitted to and cited by the Court in Stephen V. Kolbe, et al. v. Martin O’Malley, et al.
  25   13
          A separate study of incidents in the NRA Armed Citizen database for an earlier period (the
  26   five-year period from 1997 through 2001) found similar results. Specifically, this study found
       that, on average, 2.2 shots were fired by defenders and that in 28% of incidents of armed citizens
  27   defending themselves the individuals fired no shots at all. See, Claude Werner, “The Armed
       Citizen – A Five Year Analysis,” http://gunssaveslives.net/self-defense/analysis-of-five-years-of-
  28   armed-encounters-with-data-tables, accessed January 10, 2014.
                                                       5
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   1
                         Number of Shots Fired in Self-Defense
   2
                Based on NRA Armed Citizen Incidents in the United States
   3                          January 2011 - May 2017
   4
                                                                      Shots Fired by Individual in Self-Defense
   5
                                                                           Overall                Incidents in Home
   6
   7        Average Number of Shots Fired                                        2.2                          2.1

   8
            Number of Incidents with No Shots Fired                             134                           66
   9        Percent of Incidents with No Shots Fired                         18.2%                        16.1%
  10
            Number of Incidents with >10 Shots Fired                               2                            2
  11        Percent of Incidents with >10 Shots Fired                         0.3%                         0.5%
  12
          Notes and Sources:
  13        Data from NRA Armed Citizen database covering 736 incidents (of which 411 were in the home) from
            January 2011 through May 2017. Excludes duplicate incidents, wild animal attacks and one incident where
  14        the supposed victim later pleaded guilty to covering up a murder.

  15
  16
             16.      We also performed the same analysis of the NRA Armed Citizen
  17
       database limited to incidents that occurred in the state of California. According to
  18
       this analysis, defenders in California fired 2.0 shots on average. Out of 47 incidents,
  19
       there were no incidents in which the defender was reported to have fired more than
  20
       10 bullets. In 27.7% of incidents, the defender did not fire any shots, and simply
  21
       threatened the offender with a gun. For incidents occurring in the home (60% of
  22
       total), defenders fired an average of 1.9 shots, and fired no shots in 32.1% of
  23
       incidents. The table below summarizes these findings for California:
  24
  25
  26
  27
  28
                                                                6
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   1
                              Number of Shots Fired in Self-Defense
   2
                        Based on NRA Armed Citizen Incidents in California
   3                               January 2011 - May 2017
   4
                                                                      Shots Fired by Individual in Self-Defense
   5
                                                                            Overall               Incidents in Home
   6
   7          Average Number of Shots Fired                                      2.0                          1.9

   8
              Number of Incidents with No Shots Fired                             13                            9
   9          Percent of Incidents with No Shots Fired                        27.7%                       32.1%
  10
              Number of Incidents with >10 Shots Fired                             0                            0
  11          Percent of Incidents with >10 Shots Fired                        0.0%                        0.0%
  12
            Notes and Sources:
  13          Data from NRA Armed Citizen database covering 47 incidents in California (of which 28 were in the home)
              January 2011 through May 2017. Excludes duplicate incidents and wild animal attacks.
  14
  15
  16           17.      In addition to our analysis of incidents in the NRA Armed Citizen

  17   database, we performed a systematic, scientific study of news reports on incidents

  18   of self-defense with a firearm in the home, focusing on the same types of incidents

  19   as the NRA stories and covering the same time period.

  20           18.      To identify relevant news stories to include in our analysis, we

  21   performed a comprehensive search of published news stories using Factiva, an

  22   online news reporting service and archive owned by Dow Jones, Inc. that

  23   aggregates news content from nearly 33,000 sources. The search was designed to

  24   return stories about the types of incidents that are the focus of the NRA Armed

  25   Citizen database and that Plaintiffs claim the California law impedes – in particular,

  26   the use of firearms for self-defense in the home.14 The search identified all stories

  27   14
           NRA Institute for Legislative Action, Armed Citizens, https://www.nraila.org/gun-laws/armed-
  28   citizen/, accessed May 28, 2017. See, also, First Amended Complaint, ¶39.
                                                                 7
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   1   that contained the following keywords in the headline or lead paragraph: one or
   2   more words from “gun,” “shot,” “shoot,” “fire,” or “arm” (including variations on
   3   these keywords, such as “shooting” or “armed”), plus one or more words from
   4   “broke in,” “break in,” “broken into,” “breaking into,” “burglar,” “intruder,” or
   5   “invader” (including variations on these keywords) and one or more words from
   6   “home,” “apartment,” or “property” (including variations on these keywords).15 The
   7   search criteria match approximately 90% of the NRA stories on self-defense with a
   8   firearm in the home, and an analysis of the 10% of stories that are not returned by
   9   the search shows that the number of shots fired in these incidents was no different
  10   than in other incidents.16 The search covered the same period used in our analysis of
  11   incidents in the NRA Armed Citizen database (January 2011 to May 2017). The
  12   region for the Factiva search was set to “United States.” The search returned
  13   approximately 35,000 stories for the period January 2011 to May 2017.17
  14          19.     Using a random number generator, a random sample of 200 stories
  15   was selected for each calendar year, yielding 1,400 stories in total.18 These 1,400
  16   stories were reviewed to identify those stories that were relevant to the analysis, i.e.,
  17   incidents of self-defense with a firearm in or near the home. This methodology
  18
       15
          The precise search string used was: (gun* or shot* or shoot* or fire* or arm*) and (“broke in”
  19   or “break in” or “broken into” or “breaking into” or burglar* or intrud* or inva*) and (home* or
       “apartment” or “property”). An asterisk denotes a wildcard, meaning the search includes words
  20   which have any letters in place of the asterisk. For example, a search for shoot* would return
       results including “shoots,” “shooter” and “shooting.” The search excluded duplicate stories
  21   classified as “similar” on Factiva.
       16
  22      The analysis and search would have used criteria to match actual incidents involving Plaintiffs
       or California residents, but, based on the First Amended Complaint, Plaintiffs have not identified
  23   any incidents of the type they claim the California law will impede.
       17
          The effect of using alternative keywords was considered. For example, removing the second
  24   category (“broke in” or “break in” or “broken into” or “breaking into” or burglar* or intrud* or
       inva*) and including incidents in which the assailant was already inside the home and/or was
  25   known to the victim was considered. A priori, there was no reason to believe that a larger number
       of shots would be used in these incidents and based on an analysis of the NRA stories we found
  26   that the number of shots fired in incidents when defending against someone already in the home
       was not different than those with an intruder.
  27   18
          The random numbers were generated by sampling with replacement.
  28
                                                       8
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    1   yielded a random selection of 200 news stories describing incidents of self-defense
    2   with a firearm in the home out of a population of approximately 4,800 relevant
    3   stories. Thus, we found that out of the over 70 million news stories aggregated by
    4   Factiva between January 2011 and May 2017, approximately 4,800 news stories
    5   were on incidents of self-defense with a firearm in the home. We analyzed a
    6   random selection of 200 of these stories.
    7          20.     For each news story, the city/county, state and number of shots fired
    8   were tabulated. When tabulating the number of shots fired, we used the same
    9   methodology as we used to analyze stories in the NRA Armed Citizen database.19
  10    We then identified other stories describing the same incident on Factiva based on
  11    the date, location and other identifying information, and recorded the number of
  12    times that each incident was covered by Factiva news stories.
  13           21.     According to our study of a random selection from approximately
  14    4,800 relevant stories on Factiva describing incidents of self-defense with a firearm
  15    in the home, the average number of shots fired per story was 2.61. This is not a
  16    measure of the average shots fired per incident, however, because the number of
  17    stories covering an incident varies, and the variation is not independent of the
  18    number of shots fired. We found that there was a statistically significant
  19    relationship between the number of shots fired in an incident and the number of
  20    news stories covering an incident.20 We found that on average the more shots fired
  21    in a defensive gun use incident, the greater the number of stories covering an
  22    19
            When the exact number of shots fired was not specified, we used the average for the most
        relevant incidents with known number of shots. For example, if the story stated that “shots were
  23    fired” this would indicate that at least two shots were fired and thus we used the average number
        of shots fired in all incidents in which two or more shots were fired and the number of shots was
  24    specified.
        20
  25        Based on a linear regression of the number of news stories as a function of the number of
        shots fired, the results were statistically significant at the 1% level (more stringent than the 5%
  26    level commonly used by academics and accepted by courts. See, for example, Freedman, David
        A., and David H. Kaye, “Reference Guide on Statistics,” Reference Manual on Scientific
  27    Evidence (Washington, D.C.: The National Academies Press, 3rd ed., 2011), pp. 211-302, and
        Fisher, Franklin M., “Multiple Regression in Legal Proceedings,” 80 Columbia Law Review 702
  28    (1980).)
                                                         9
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    1   incident. For example, as shown in the table below, we found that incidents in
    2   Factiva news stories with zero shots fired were covered on average by 1.8 news
    3   stories, while incidents with six or more shots fired were covered on average by
    4   10.4 different news stories.
    5
    6               Average Number of News Stories by Number of Shots Fired
    7              In Factiva Stories on Incidents of Self-Defense with a Firearm
                                     January 2011 - May 2017
    8
    9                                     Number of Shots Fired            Average Number
                                               By Defender                  of News Stories
  10
  11                                                      0                            1.8

                                                     1 to 2                            2.8
  12
                                                     3 to 5                            3.8
  13
                                                 6 or more                            10.4
  14
                    Notes and S ources:
  15
                     Based on news stories describing defensive gun use in a random selection of Factiva stories between
  16                 2011 and M ay 2017 using the search string: (gun* or shot* or shoot* or fire* or arm*) and ("broke
                     in" or "break in" or "broken into" or "breaking into" or burglar* or intrud* or inva*) and (home* or
  17                 "apartment" or "property"), with region set to "United States" and excluding duplicate stories classified
                     as "similar" on Factiva. M ethodology for tabulation of shots fired as per footnote 19.
  18
               22.        After adjusting for this disparity in news coverage, we find that the
  19
        average number of shots fired per incident covered is 2.34.21 Note that this
  20
        adjustment does not take into account the fact that some defensive gun use incidents
  21
  22    21
            The adjustment reflects the probability that a news story on a particular incident would be
  23    selected at random from the total population of news stories on incidents of self-defense with a
        firearm in the home. The formula used for the adjustment is:
  24           ∑

  25                  ∑

        where:
  26
         = random selection of news stories on incidents of self-defense with a firearm in the home
  27      = number of search results on Factiva in the calendar year of incident
  28      = number of news stories covering incident
                                                                     10
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    1   may not be picked up by any news story. Given the observed relationship that there
    2   are more news stories when there are more shots fired, one would expect that the
    3   incidents that are not written about would on average have fewer shots than those
    4   with news stories. Therefore, the expectation is that these results, even after the
    5   adjustment, are biased upward (i.e., estimating too high an average number of shots
    6   and underestimating the percent of incidents in which no shots were fired).
    7         23.    As shown in the table below, according to the study of Factiva news
    8   stories, in 11.6% of incidents the defender did not fire any shots, and simply
    9   threatened the offender with a gun. In 97.3% of incidents the defender fired 5 or
  10    fewer shots. There were no incidents where the defender was reported to have fired
  11    more than 10 bullets.
  12
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                                                  11
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    1
                   Number of Shots Fired in Self-Defense in the Home
    2             Based on Random Selection of News Stories in Factiva
    3                         January 2011 - May 2017
    4
                                     Estimated population of news reports in Factiva 4,841
    5                                on self-defense with a firearm in the home

    6                                Random selection of news reports                          200

    7
                                     Average Number of Shots Fired                             2.34
    8                                Median Number of Shots Fired                              2.03

    9                                Number of Incidents with No Shots Fired                     23
                                     Percent of Incidents with No Shots Fired                11.6%
  10
  11                                 Number of Incidents with ≤5 Shots Fired                    195
                                     Percent of Incidents with ≤5 Shots Fired                97.3%
  12
                                     Number of Incidents with >10 Shots Fired                    0
  13                                 Percent of Incidents with >10 Shots Fired                0.0%
  14                 Notes and S ources:
                      Based on news stories describing defensive gun use in a random selection of Factiva
  15
                      stories between 2011 and M ay 2017 using the search string: (gun* or shot* or shoot*
  16                  or fire* or arm*) and ("broke in" or "break in" or "broken into" or "breaking into" or
                      burglar* or intrud* or inva*) and (home* or "apartment" or "property"), with region
  17                  set to "United States" and excluding duplicate stories classified as "similar" on Factiva.
                      M ethodology for tabulation of shots fired as per footnote 19. Number of incidents
  18                  probability-weighted as per footnote 21.

  19          24.      In sum, an analysis of incidents in the NRA Armed Citizen database,
  20    as well as our own study of a random sample from approximately 4,800 news
  21    stories describing incidents of self-defense with a firearm, indicates that it is rare
  22    for a person, when using a firearm in self-defense, to fire more than ten rounds.
  23         B.     Public Mass Shootings
  24          25.      We analyzed the use of Assault Weapons and large-capacity
  25    magazines in public mass shootings using four sources for identifying public mass
  26
  27
  28
                                                                    12
                                 Declaration of Lucy P. Allen (19-cv-1537 BEN-JLB)
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    1   shootings: Mother Jones,22 the Citizens Crime Commission of New York City,23 the
    2   Washington Post24 and the Violence Project.25, 26 The analysis focused on public
    3   mass shootings because it is my understanding that the state of California is
    4   concerned about public mass shootings and enacted the challenged laws, in part, to
    5   address the problem of public mass shootings.
    6          26.    The type of incident considered a mass shooting is generally consistent
    7   across the four sources. In particular, all four sources consider an event a mass
    8   shooting if four or more people were killed in a public place in one incident, and
    9   exclude incidents involving other criminal activity such as a robbery.27
  10    22
           “US Mass Shootings, 1982-2018: Data From Mother Jones’ Investigation,” Mother Jones,
  11    updated December 11, 2019, http://www.motherjones.com/politics/2012/12/mass-shootings-
        mother-jones-full-data.
  12    23
           “Mayhem Multiplied: Mass Shooters and Assault Weapons,” Citizens Crime Commission of
        New York City, February 2018 update. Additional details on the mass shootings were obtained
  13    from an earlier source by the Citizens Crime Commission. “Mass Shooting Incidents in America
        (1984-2012),” Citizens Crime Commission of New York City,
  14    http://www.nycrimecommission.org/mass-shooting-incidents-america.php, accessed June 1,
        2017.
  15    24
           “The terrible numbers that grow with each mass shooting,” The Washington Post, updated
  16    December 18, 2019, https://www.washingtonpost.com/graphics/2018/national/mass-shootings-in-
        america/.
  17    25
           “Mass Shooter Database,” The Violence Project, https://www.theviolenceproject.org/mass-
        shooter-database/, accessed January 17, 2020.
  18    26
           When I began research in 2013 on mass shootings in response to a challenge to New York state
  19    law, I found Mother Jones and Citizens Crime Commission to maintain the most comprehensive
        lists of relevant mass shootings. More recently, two additional sources, the Washington Post and
  20    The Violence Project, have compiled lists of public mass shootings. The Violence Project began
        work on its mass shootings database in September 2017 and its database first went online in
  21    November 2019, while the Washington Post first published its mass shootings database in
        February 14, 2018. There is substantial overlap between the mass shootings in all four sources.
  22    For example, the Mother Jones data contains 93% of the mass shootings in the Citizens Crime
        Commission data for the years covered by both data sources, 1984 to 2016, while the Washington
  23    Post contains 94% of the mass shootings in The Violence Project data for the years covered by
        both data sources, 1966 to 2019.
        27
  24       Citizen Crime Commission describes a mass shooting as “four or more victims killed” in “a
        public place” that were “unrelated to another crime (e.g., robbery, domestic violence).” Citizen
  25    Crime notes that its sources include “news reports and lists created by government entities and
        advocacy groups.” “Mayhem Multiplied: Mass Shooters and Assault Weapons,” Citizens Crime
  26    Commission of New York City, February 2018 update.
        Mother Jones describes a mass shooting as “indiscriminate rampages in public places resulting in
  27    four or more victims killed by the attacker,” excluding “shootings stemming from more
        conventionally motivated crimes such as armed robbery or gang violence.” Although in January
  28
                                                      13
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    1          27.    Each of the four sources contains data on mass shootings covering
    2   different time periods. The Mother Jones data covers 98 mass shootings from 1982
    3   to December 11, 2019,28 the Citizens Crime Commission data covers 80 mass
    4   shootings from 1984 to February 2018,29 the Washington Post data covers 172 mass
    5   shootings from 1966 to December 18, 2019,30 and The Violence Project data covers
    6   171 mass shootings from 1966 to 2019.31
    7   2013 Mother Jones changed its definition of mass shooting to include instances when three or
        more people were killed, for this declaration we only analyzed mass shootings where four or
    8   more were killed to be consistent with the definition of the other three sources. “A Guide to Mass
        Shootings in America,” Mother Jones, updated December 11, 2019,
    9   http://www.motherjones.com/politics/2012/07/mass-shootings-map. See also, “What Exactly is a
        Mass Shooting,” Mother Jones, August 24, 2012.
  10    http://www.motherjones.com/mojo/2012/08/what-is-a-mass-shooting.
  11    The Washington Post source describes a mass shooting as “four or more people [] killed by a lone
        shooter (two shooters in a few cases),” excluding “shootings tied to robberies that went awry” and
  12    “domestic shootings that took place exclusively in private homes.” The Washington Post notes
        that its sources include “Grant Duwe, author of ‘Mass Murder in the United States: A History,’
  13    Mother Jones and Washington Post research,” as well as “Violence Policy Center, Gun Violence
        Archive; FBI 2014 Study of Active Shooter Incidents; published reports.” “The terrible numbers
  14    that grow with each mass shooting,” The Washington Post, updated December 18, 2019,
        https://www.washingtonpost.com/graphics/2018/national/mass-shootings-in-america/.
  15    The Violence Project indicates that it uses the Congressional Research Service definition of a
        mass shooting: “a multiple homicide incident in which four or more victims are murdered with
  16    firearms—not including the offender(s)—within one event, and at least some of the murders
        occurred in a public location or locations in close geographical proximity (e.g., a workplace,
  17    school, restaurant, or other public settings), and the murders are not attributable to any other
        underlying criminal activity or commonplace circumstance (armed robbery, criminal competition,
  18    insurance fraud, argument, or romantic triangle).” The Violence Project notes that its sources
        include “Primary Sources: Written journals / manifestos / suicide notes etc., Social media and
  19    blog posts, Audio and video recordings, Interview transcripts, Personal correspondence with
        perpetrators” as well as “Secondary Sources (all publicly available): Media (television,
  20    newspapers, magazines), Documentary films, Biographies, Monographs, Peer-reviewed journal
        articles, Court transcripts, Law Enforcement records, Medical records, School records, Autopsy
  21    reports.” “Mass Shooter Database,” The Violence Project,
        https://www.theviolenceproject.org/methodology/, accessed January 17, 2020.
  22    28
           “A Guide to Mass Shootings in America,” Mother Jones, updated December 11, 2019,
  23    http://www.motherjones.com/politics/2012/07/mass-shootings-map. Excludes mass shootings
        where only three people were killed. Note this analysis of the Mother Jones data may not match
  24    other analyses because Mother Jones periodically updates its historical data.
        29
           “Mayhem Multiplied: Mass Shooters and Assault Weapons,” Citizens Crime Commission of
  25    New York City, February 2018 update.
        30
  26       “The terrible numbers that grow with each mass shooting,” The Washington Post, updated
        December 18, 2019. https://www.washingtonpost.com/graphics/2018/national/mass-shootings-in-
  27    america/.
        31
           “Mass Shooter Database,” The Violence Project https://www.theviolenceproject.org/mass-
  28
                                                       14
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    1          28.    Note that the two more recently compiled sources of mass shootings,
    2   the Washington Post and The Violence Project, include additional mass shootings
    3   that were not covered by either Mother Jones or Citizens Crime Commission. In
    4   general, we found that these additional mass shootings were less covered by the
    5   media and involved fewer fatalities and/or injuries than the ones previously
    6   identified by Mother Jones or Citizens Crime Commission. For example, we found
    7   that the median number of news stories for a mass shooting included in Mother
    8   Jones and/or Citizen Crime Commission was 317, while the median for the
    9   additional mass shootings identified in the Washington Post and/or The Violence
  10    Project was 28.32 In addition, we found an average of 21 fatalities or injuries for a
  11    mass shooting included in Mother Jones and/or Citizen Crime Commission, while
  12    only 6 fatalities or injuries for the additional mass shootings identified in the
  13    Washington Post and/or The Violence Project.
  14           29.    We combined the data from the four sources for the period 1982
  15    through 2019, and searched news stories on each mass shooting to obtain additional
  16    details on the types of weapons used as well as data on shots fired where available.
  17    We compared the details on the weapons used in each shooting to the list of
  18    prohibited firearms and features specified in California law to identify, based on
  19    this publicly available information, which mass shootings involved the use of
  20    Assault Weapons. In addition, we identified, based on this publicly available
  21    information, which mass shootings involved the use of large-capacity magazines.
  22    See attached Appendix B for a summary of the combined data, and Appendix C for
  23    a summary of the weapons used in each public mass shooting based on Mother
  24    Jones, Citizens Crime Commission, the Washington Post and news reports.
  25
  26
        shooter-database/, accessed January 17, 2020.
  27    32
           The search was conducted over all published news stories on Factiva. The search was based on
        the shooter’s name and the location of the incident over the period from one week prior to three
  28    months following each mass shooting.
                                                        15
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    1               1.     Use of Assault Weapons in public mass shootings
    2         30.        Based on the data, we found that Assault Weapons are often used in
    3   public mass shootings. Whether an Assault Weapon was used in a mass shooting
    4   can be determined in 147 out of the 161 incidents (91%) considered in this analysis.
    5   Out of these 147 mass shootings, 32 (or 22%) involved Assault Weapons. Even
    6   assuming the mass shootings where it is not known whether an Assault Weapon
    7   was used all did not involve an Assault Weapon, 32 out of 161 mass shootings, or
    8   20%, involved Assault Weapons.
    9         31. Based on our analysis, casualties were higher in the mass shootings that
  10    involved Assault Weapons than in other mass shootings. In particular, we found an
  11    average number of fatalities or injuries of 38 per mass shooting with an Assault
  12    Weapon versus 10 for those without. Focusing on just fatalities, we found an
  13    average number of fatalities of 12 per mass shooting with an Assault Weapon
  14    versus 6 for those without. (See table below.)
  15                2.     Use of large-capacity magazines in public mass shootings
  16          32.        Based on the data, we found that large-capacity magazines (those with
  17    a capacity to hold more than 10 rounds of ammunition) are often used in public
  18    mass shootings. Magazine capacity is known in 105 out of the 161 mass shootings
  19    (or 65%) considered in this analysis. Out of the 105 mass shootings with known
  20    magazine capacity, 63 (or 60%) involved large-capacity magazines. Even assuming
  21    the mass shootings with unknown magazine capacity all did not involve large-
  22    capacity magazines, 63 out of 161 mass shootings or 39% of mass shootings
  23    involved large capacity magazines. (See table below.)
  24          33. Based on our analysis of the public mass shootings data, casualties were
  25    higher in the mass shootings that involved weapons with large-capacity magazines
  26    than in other mass shootings. In particular, we found an average number of fatalities
  27    or injuries of 27 per mass shooting with a large-capacity magazine versus 9 for
  28    those without. Focusing on just fatalities, we found an average number of fatalities
                                                      16
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    1   of 10 per mass shooting with a large-capacity magazine versus 6 for those without.
    2   (See table below.)
    3          34. In addition, we found that casualties were higher in the mass shootings
    4   that involved both Assault Weapons and large-capacity magazines. In particular,
    5   we found an average number of fatalities or injuries of 43 per mass shooting with
    6   both an Assault Weapon and a large-capacity magazine versus and 8 for those
    7   without either. Focusing on just fatalities, we found an average number of fatalities
    8   of 13 per mass shooting with both an Assault Weapon and a large-capacity
    9   magazine versus 6 for those without either. (See table below.)
  10
               Numbers of Fatalities and Injuries in Public Mass Shootings
  11
                                                           # of                       Average # of
  12
                      Weapon Used                       Incidents       Fatalities       Injuries         Total
  13
          Assault Weapon                                    32              12              26             38
  14      No Assault Weapon                                115               6               4             10
          Unknown                                           14               6               1              7
  15
  16      Large-Cap. Mag.                                    63             10              17             27
          No Large-Cap. Mag.                                 42              6               3              9
  17      Unknown                                            56              5               3              7

  18
          Assault Weapon & Large-Cap. Mag.                   27             13              30             43
  19      Large-Cap. Mag. only                               34              8               7             15
          No Assault Weapon or Large-Cap. Mag.               41              6               3              8
  20      Unknown                                            59              5               3              8

  21    Notes and Sources:
          Casualty figures exclude the shooter. LCM classification and casualties based on review of stories from
  22
          Factiva/Google searches.
  23
  24
  25
  26           35.      Our results are consistent with those of other studies that have
  27    analyzed mass shootings. Note that although the other studies are based on alternate
  28    sets of mass shootings, including covering different years and defining mass
                                                                  17
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    1   shootings somewhat differently, the results are similar in finding that fatalities and
    2   injuries are larger in mass shootings in which large capacity magazines and/or
    3   assault weapons are involved. A 2019 academic article published in the American
    4   Journal of Public Health by Klarevas, Conner and Hemenway found that “[a]ttacks
    5   involving LCMs resulted in a 62% higher mean average death toll.”33 This study
    6   found an average number of fatalities of 11.8 per mass shooting with a large-
    7   capacity magazine versus 7.3 for those without. The results in this study were based
    8   on 69 mass shootings between 1990 and 2017.34 An analysis of the mass shootings
    9   detailed in a 2016 article by Gary Kleck yielded similar results (21 average
  10    fatalities or injuries in mass shootings involving large-capacity magazines versus 8
  11    for those without).35 The Kleck study covered 88 mass shooting incidents between
  12    1994 and 2013.36 In a 2018 study, Koper et al. found that mass shootings involving
  13    assault weapons and large-capacity magazines resulted in an average of 13.7
  14    victims versus 5.2 for other cases.37 The Koper et al. study covered 145 mass
  15    shootings between 2009 and 2015.38
  16                 3.     Number of rounds fired in public mass shootings with
                            Assault Weapons or large-capacity magazines
  17
               36.        The data on public mass shootings indicates that it is common for
  18
        offenders to fire more than ten rounds when using an Assault Weapon. Of the 32
  19
  20    33
           Louis Klarevas PhD, Andrew Conner BS, and David Hemenway PhD, “The Effect of Large-
        Capacity Magazine Bans on High-Fatality Mass Shootings, 1990–2017,” American Journal of
  21    Public Health (2019).
        34
  22       The Klarevas, Conner and Hemenway study defines mass shootings as “intentional crimes of
        gun violence with 6 or more victims shot to death, not including the perpetrators.”
  23    35
           Kleck, Gary, “Large-Capacity Magazines and the Casualty Counts in Mass Shootings: The
        Plausibility of Linkages,” 17 Justice Research and Policy 28 (2016).
  24    36
           The Kleck study defines a mass shooting as “one in which more than six people were shot,
  25    either fatally or nonfatally, in a single incident.”
        37
           Koper et al., “Criminal Use of Assault Weapons and High-Capacity Semiautomatic Firearms:
  26    an Updated Examination of Local and National Sources,” Journal of Urban Health (2018)
        38
  27       The Koper et al. study defined mass shooting as “incidents in which four or more people were
        murdered with a firearm, not including the death of the shooter if applicable and irrespective of
  28    the number of additional victims shot but not killed.”
                                                       18
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    1   mass shootings that involved an Assault Weapon, there are 22 in which the number
    2   of shots fired is known. Shooters fired more than ten rounds in all 22 incidents, and
    3   the average number of shots fired was 152.
    4          37.        In addition, the data indicates that it is common for offenders to fire
    5   more than ten rounds when using a gun with a large-capacity magazine in mass
    6   shootings. Of the 63 mass shootings that involved a large-capacity magazine, there
    7   are 43 in which the number of shots fired is known. Shooters fired more than ten
    8   rounds in 40 of the 43 incidents, and the average number of shots fired was 103.
    9                4.     Percent of mass shooters’ guns legally obtained
  10           38.        The data on public mass shootings indicates that the majority of guns
  11    used in these mass shootings were obtained legally.39 Of the 161 mass shootings,
  12    there are 100 where it can be determined whether the gun was obtained legally.
  13    According to the data, shooters in 77% of mass shootings obtained their guns
  14    legally (77 of the 100 mass shootings) and 79% of the guns used in these 100 mass
  15    shootings were obtained legally (184 of the 234 guns). (Note that even if one
  16    assumes that all of the mass shootings where it is not known were assumed to be
  17    illegally obtained, then one would find 48% of the mass shootings and 61% of the
  18    guns were obtained legally.)
  19
  20
  21
  22
  23
  24
  25
  26
  27    39
         The determination of whether guns were obtained legally is based on Mother Jones and
  28    Washington Post reporting.
                                                       19
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     Appendix A

                                   MANAGING DIRECTOR

    Education
                   YALE UNIVERSITY
                   M.Phil., Economics, 1990
                   M.A., Economics, 1989
                   M.B.A., 1986

                   STANFORD UNIVERSITY
                   A.B., Human Biology, 1981

    Professional Experience
    1994-Present          National Economic Research Associates, Inc.
                          Managing Director. Responsible for economic analysis in the areas of
                          securities, finance and environmental and tort economics.
                          Senior Vice President (2003-2016).
                          Vice President (1999-2003).
                          Senior Consultant (1994-1999).

    1992-1993             Council of Economic Advisers, Executive Office of the President
                          Staff Economist. Provided economic analysis on regulatory and health
                          care issues to Council Members and interagency groups. Shared
                          responsibility for regulation and health care chapters of the Economic
                          Report of the President, 1993. Working Group member of the President’s
                          National Health Care Reform Task Force.

    1986-1988             Ayers, Whitmore & Company (General Management Consultants)
    1983-1984             Senior Associate. Formulated marketing, organization, and overall
                          business strategies including:
                          Plan to improve profitability of chemical process equipment manufacturer.
                          Merger analysis and integration plan of two equipment manufacturers.
                          Evaluation of Korean competition to a U.S. manufacturer.
                          Diagnostic survey for auto parts manufacturer on growth obstacles.
                          Marketing plan to increase international market share for major accounting
                          firm.
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    Summer 1985         WNET/Channel Thirteen, Strategic Planning Department
                        Associate. Assisted in development of company’s first long-term strategic
                        plan. Analyzed relationship between programming and viewer support.

    1981-1983           Arthur Andersen & Company
                        Consultant.      Designed, programmed and installed management
                        information systems. Participated in redesign/conversion of New York
                        State’s accounting system. Developed municipal bond fund management
                        system, successfully marketed to brokers. Participated in President’s
                        Private Sector Survey on Cost Control (Grace Commission). Designed
                        customized tracking and accounting system for shipping company.

    Teaching
    1989- 1992          Teaching Fellow, Yale University
                        Honors Econometrics
                        Intermediate Microeconomics
                        Competitive Strategies
                        Probability and Game Theory
                        Marketing Strategy
                        Economic Analysis


    Publications
          “Snapshot of Recent Trends in Asbestos Litigation: 2019 Update,” (co-author), NERA
          Report, 2019.

          “Snapshot of Recent Trends in Asbestos Litigation: 2018 Update,” (co-author), NERA
          Report, 2018.

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          Consumption and Production Worldwide,” (co-author), International Journal of
          Environmental Research and Public Health, 15(3), 531, 2018.

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          Report, 2017.

          “Asbestos: Economic Assessment of Bans and Declining Production and
          Consumption,” World Health Organization, 2017.

          “Snapshot of Recent Trends in Asbestos Litigation: 2016 Update,” (co-author), NERA
          Report, 2016.

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          Report, 2015.
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                                                                                  Lucy P. Allen


         “Snapshot of Recent Trends in Asbestos Litigation: 2014 Update,” (co-author), NERA
         Report, 2014.

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         Report, 2013.

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         Increase as Dramatic as it Sounds? Snapshot of Recent Trends in Asbestos Litigation:
         2012 Update,” (co-author), NERA Report, 2012.

         “Snapshot of Recent Trends in Asbestos Litigation: 2011 Update,” (co-author), NERA
         White Paper, 2011.

         “Snapshot of Recent Trends in Asbestos Litigation: 2010 Update,” (co-author), NERA
         White Paper, 2010.

         “Settlement Trends and Tactics” presented at Securities Litigation During the Financial
         Crisis: Current Development & Strategies, hosted by the New York City Bar, New
         York, New York, 2009.

         “Snapshot of Recent Trends in Asbestos Litigation,” (co-author), NERA White Paper,
         2009.

         “China Product Recalls: What’s at Stake and What’s Next,” (co-author), NERA
         Working Paper, 2008.

         “Forecasting Product Liability by Understanding the Driving Forces,” (co-author), The
         International Comparative Legal Guide to Product Liability, 2006.

          “Securities Litigation Reform: Problems and Progress,” Viewpoint, November 1999,
         Issue No. 2 (co-authored).

         “Trends in Securities Litigation and the Impact of the PSLRA,” Class Actions &
         Derivative Suits, American Bar Association Litigation Section, Vol. 9, No. 3, Summer
         1999 (co-authored).

         “Random Taxes, Random Claims,” Regulation, Winter 1997, pp. 6-7 (co-authored).


    Expert Reports, Depositions & Testimony (4 years)
         Testimony before the United States District Court Southern District of Iowa in Mahaska
         Bottling Company, Inc., et al. v. PepsiCo, Inc. and Bottling Group, LLC, 2019.

         Expert Report before the United States District Court Middle District of Tennessee in
         Zwick Partners LP and Aparna Rao v. Quorum Health Corporation, 2019.
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                                                                                     Lucy P. Allen


         Declaration before the United States District Court Western District of Oklahoma in In
         re: Samsung Top-Load Washing Machine Marketing, Sales Practices and Products
         Liability Litigation, 2019.

         Testimony and Expert Report before the United States District Court Southern District
         of New York in Chicago Bridge & Iron Company N.V. Securities Litigation, 2019.

         Expert Report before the Court of First Instance Central Section Macau in Asian
         American Entertainment Corporation Limited v. LVS (Nevada) Int. Holdings, Inc.,
         2019.

         Rebuttal Report and Expert Report before the Superior Court of the State of California,
         Los Angeles County, in In re MRV Communications, Inc., Stockholder Litigation, 2019.

         Expert Report before the Federal Court of Australia, New South Wales, in Kenquist
         Nominees Pty Ltd. v. Peter Campbell and others, 2019.

         Declaration before the United States District Court Southern District of Iowa in
         Mahaska Bottling Company, Inc., et al. v. Pepsico, Inc. and Bottling Group, LLC, 2019.

         Deposition Testimony, Rebuttal Report and Expert Report before the United States
         District Court Middle District of Florida in Jacob J. Beckel v. Fagron Holdings USA,
         LLC et al., 2019.

         Deposition Testimony, Rebuttal Report and Expert Report before the Clark County
         District Court of Nevada in Round Square Company Limited v. Las Vegas Sands, Inc.,
         2018.

         Deposition Testimony, Supplemental Report and Expert Report before the United States
         District Court Middle District of Tennessee in Nikki Bollinger Grae v. Corrections
         Corporation of America et al., 2018.

         Deposition Testimony, Rebuttal Report and Expert Report before the District Court for
         the State of Nevada in Dan Schmidt v. Liberator Medical Holdings, Inc., et al., 2018.

         Deposition Testimony and Expert Report before the United States District Court
         Northern District of Illinois Eastern Division in In re the Allstate Corporation Securities
         Litigation, 2018.

         Expert Report before the United States District Court Central District of Californian
         Southern Division in Steven Rupp et al. v. Xavier Becerra et al., 2018.

         Supplemental Report and Expert Report before the United States District Court Middle
         District of Tennessee in Zwick Partners LP and Aparna Rao v. Quorum Health
         Corporation, et al., 2018.
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         Declaration before the Superior Court of the State of Vermont in Vermont Federation of
         Sportsmen’s Club et al. v. Matthew Birmingham et al., 2018.

         Testimony and Expert Report before the American Arbitration Association in Arctic
         Glacier U.S.A, Inc. and Arctic Glacier U.S.A., Inc. Savings and Retirement Plan v.
         Principal Life Insurance Company, 2018.

         Deposition Testimony and Expert Report before the United States District Court
         Southern District of New York in Marvin Pearlstein v. Blackberry Limited et al., 2018.

         Deposition Testimony, Rebuttal Report and Expert Report before the United States
         District Court Eastern District of Texas in Alan Hall and James DePalma v. Rent-A-
         Center, Inc., Robert D. Davis, and Guy J. Constant, 2018.

         Deposition Testimony, Surrebuttal Report, Rebuttal Report and Expert Report before
         the United States District Court Southern District of Iowa in Mahaska Bottling
         Company, Inc., et al. v. PepsiCo, Inc. and Bottling Group, LLC, 2018.

         Testimony, Deposition Testimony and Declaration before the United States District
         Court District of New Jersey in Association of New Jersey Rifle & Pistol Clubs, Inc. et
         al. v. Gurbir Grewal et al., 2018.

         Deposition Testimony, Supplemental Report and Expert Report before the Supreme
         Court of the State of New York in Bernstein Liebhard, LLP v. Sentinel Insurance
         Company, Ltd., 2018.

         Expert Report before the District Court for Douglas County, Nebraska in Union Pacific
         Railroad Company v. L.B. Foster Company and CXT Incorporated, 2018.

         Deposition Testimony and Declarations before the United States District Court
         Southern District of New York in Andrew Meyer v. Concordia International Corp., et
         al., 2018.

         Deposition Testimony before the United States District Court Southern District of
         California in Virginia Duncan, et al. v. Xavier Becerra, et al., 2018.

         Expert Report and Declaration before the United States District Court Southern District
         of California in Virginia Duncan, et al. v. Xavier Becerra, et al., 2017.

         Deposition Testimony and Expert Report before the United States District Court for the
         Western District of Texas, Austin Division in City of Pontiac General Employees’
         Retirement System v. Dell, Inc., et al., 2017.

         Deposition Testimony and Expert Report before the United States District Court for the
         Southern District of Texas, Houston Division in In re Willbros Group, Inc. Securities
         Litigation, 2017.
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                                                                                    Lucy P. Allen


         Declaration before the United States District Court Eastern District of California in
         William Wiese, et al. v. Xavier Becerra, et al., 2017.

         Deposition Testimony and Expert Report before the United States District Court for the
         Southern District of Texas, Houston Division in In re Cobalt International Energy Inc.
         Securities Litigation., 2017.

         Testimony, Deposition Testimony and Expert Report before the United States District
         Court for the Northern District of Texas, Dallas Division in DEKA Investment GmbH, et
         al. v. Santander Consumer USA Holdings, Inc., et al., 2017.

         Deposition Testimony before the Superior Court of the State of North Carolina for
         Mecklenburg County in Next Advisor, Inc. v. LendingTree, Inc., 2017

         Deposition Testimony and Expert Report before the Supreme Court of the State of New
         York, County of New York in Iroquois Master Fund Ltd., et al. v. Hyperdynamics
         Corporation, 2016.

         Deposition Testimony and Expert Report before the United States District Court for the
         Northern District of Texas, Dallas Division in The Archdiocese of Milwaukee
         Supporting Fund, Inc., et al. v. Halliburton Company, et al., 2016.

         Expert Report before the United States District Court for the Northern District of
         Georgia, Atlanta Division, in In re Suntrust Banks, Inc. ERISA Litigation, 2016.
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                                                                                   Appendix B
                                                                            Public Mass Shootings Data
                                                                                    1982 – 2019
                                                                                                            Large                                                            Total                     Gun(s)        Offender(s)'
                                                                                                           Capacity        Assault                                        Fatalities &    Shots       Obtained       Number of
                                                                                                                       a              b                c              c               c           d              e
                      Case                        Location           Date             Source               Mag.?           Weapon?        Fatalities       Injuries        Injuries       Fired       Legally?          Guns

                       (1)                           (2)              (3)              (4)                       (5)            (6)           (7)             (8)             (9)          (10)         (11)             (12)


 1. Jersey City Kosher Supermarket         Jersey City, NJ          12/10/19   MJ/WaPo                      -               No                  4               3                7                -     Yes                 5
 2. Football-watching party                Fresno, CA               11/17/19   WaPo                         -               No                  4               6              10                 -     -                   2
 3. Halloween Party                        Orinda, CA                11/1/19   WaPo                         -               -                   5               0                5                -     -                   1
 4. Tequila KC bar                         Kansas City, KS           10/6/19   WaPo                         -               No                  4               5                9                -     No                  2
 5. Midland-Odessa Highways                Odessa, TX                8/31/19   MJ/VP/WaPo                   -               Yes                 7              25              32                 -     No                  1
 6. Dayton                                 Dayton, OH                 8/4/19   MJ/VP/WaPo                   Yes             Yes                 9              27              36            41 f       Yes               1/2
 7. El Paso Walmart                        El Paso, TX                8/3/19   MJ/VP/WaPo                   Yes             Yes                22              26              48                 -     Yes                 1
 8. Casa Grande Senior Mobile Estates      Santa Maria, CA           6/19/19   WaPo                          -              -                   4               0                4                -     -                   1
 9. Virginia Beach Municipal Center        Virginia Beach, VA        5/31/19   MJ/VP/WaPo                   Yes             No                 12               4              16                 -     Yes                 2
10. Henry Pratt Co.                        Aurora, IL                2/15/19   MJ/VP/WaPo                   -               No                  5               6              11                 -     No                  1
11. SunTrust Bank                          Sebring, FL               1/23/19   MJ/VP/WaPo                   -               No                  5               0                5            -         Yes                 1
12. Borderline Bar & Grill                 Thousand Oaks, CA         11/7/18   MJ/VP/WaPo                   Yes             No                 12               1              13            50 g       Yes                 1
13. Tree of Life Synagogue                 Pittsburgh, PA           10/27/18   MJ/VP/WaPo                   -               Yes                11               6              17                 -     Yes                 4
14. T&T Trucking                           Bakersfield, CA           9/12/18   MJ/VP/WaPo                   No              No                  5               0                5                -     -                   1
15. Capital Gazette                        Annapolis, MD             6/28/18   MJ/VP/WaPo                   -               No                  5               2                7                -     Yes                 1
16. Santa Fe High School                   Santa Fe, TX              5/18/18   MJ/VP/WaPo                   No              No                 10              13              23                 -     -                   2
17. Waffle House                           Nashville, TN             4/22/18   MJ/VP/WaPo                   -               Yes                 4               4                8                -     Yes                 1
18. Detroit                                Detroit, MI               2/26/18   VP                           -               No                  4               0                4                -     -                   -
19. Stoneman Douglas HS                    Parkland, FL              2/14/18   CC/MJ/VP/WaPo                Yes             No                 17              17              34                 -     Yes                 1
20. Pennsylvania Carwash                   Melcroft, PA              1/28/18   MJ/VP/WaPo                   -               -                   4               1                5                -     -                   3h
21. Rancho Tehama                          Rancho Tehama, CA        11/14/17   MJ/VP/WaPo                    Yes            Yes                 4              10              14            30 i       No                  2
22. Texas First Baptist Church             Sutherland Springs, TX    11/5/17   CC/MJ/VP/WaPo                Yes             Yes                26              20              46           450 j       Yes                 1
23. Las Vegas Strip                        Las Vegas, NV             10/1/17   CC/MJ/VP/WaPo                Yes             Yes                58             422             480          1100 k       Yes               23
24. Taos and Rio Arriba counties           Abiquiu, NM               6/15/17   WaPo                         No              No                  5               0                5                -     -                   1
25. Fiamma Workplace                       Orlando, FL                6/5/17   CC/MJ/VP/WaPo                 No             No                  5               0                5                -     -                   1
26. Marathon Savings Bank                  Rothschild, WI            3/22/17   VP/WaPo                      -               No                  4               0                4                -     -                   2
27. Club 66                                Yazoo City, MS             2/6/17   VP/WaPo                      -               -                   4               0                4                -     -                   1
28. Fort Lauderdale Airport                Fort Lauderdale, FL        1/6/17   CC/MJ/VP/WaPo                No              No                  5               6              11            15 l       Yes                 1
29. Cascade Mall                           Burlington, WA            9/23/16   CC/MJ/VP/WaPo                Yes             No                  5               0                5                -     -                   1


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                                                                                Appendix B
                                                                         Public Mass Shootings Data
                                                                                 1982 – 2019
                                                                                                         Large                                                            Total                     Gun(s)        Offender(s)'
                                                                                                        Capacity        Assault                                        Fatalities &    Shots       Obtained       Number of
                                                                                                                    a              b                c              c               c           d              e
                       Case                     Location          Date             Source               Mag.?           Weapon?        Fatalities       Injuries        Injuries       Fired       Legally?          Guns

                        (1)                        (2)             (3)              (4)                       (5)            (6)           (7)             (8)             (9)          (10)         (11)             (12)


30. Dallas Police                         Dallas, TX               7/7/16   CC/MJ/VP/WaPo                Yes             Yes                 5              11              16                 -     Yes                 3
31. Walgreens Parking Lot                 Las Vegas, NV           6/29/16   WaPo                         -               -                   4               0                4                -     -                   1
32. Orlando Nightclub                     Orlando, FL             6/12/16   CC/MJ/VP/WaPo                Yes             Yes                49              53             102           110 m       Yes                 2
33. Franklin Avenue Cookout               Wilkinsburg, PA          3/9/16   VP/WaPo                      Yes             Yes                 6               3                9           48 n       No                  2
34. Kalamazoo                             Kalamazoo County, MI    2/20/16   MJ/VP/WaPo                    Yes            No                  6               2                8                -     Yes                 1
35. San Bernardino                        San Bernardino, CA      12/2/15   CC/MJ/VP/WaPo                Yes             Yes                14              22              36           150 o       Yes                 4
36. Tennessee Colony campsite             Anderson County, TX    11/15/15   VP/WaPo                      -               -                   6               0                6                -     -                   1
37. Umpqua Community College              Roseburg, OR            10/1/15   CC/MJ/VP/WaPo                -               No                  9               9              18                 -     Yes                 6
38. Chattanooga Military Center           Chattanooga, TN         7/16/15   CC/MJ/VP/WaPo                Yes             Yes                 5               2                7                -     Yes                 3
39. Charleston Church                     Charleston, SC          6/17/15   CC/MJ/VP/WaPo                Yes             No                  9               3              12                 -     Yes                 1
40. Marysville High School                Marysville, WA         10/24/14   CC/MJ/VP/WaPo                Yes             No                  4               1                5            -         No                  1
41. Isla Vista                            Santa Barbara, CA       5/23/14   MJ/VP/WaPo                   No              No                  6              13              19            50 p       Yes                 3
42. Alturas Tribal                        Alturas, CA             2/20/14   MJ/VP/WaPo                   -               No                  4               2                6                -     -                   2
43. Washington Navy Yard                  Washington, D.C.        9/16/13   CC/MJ/VP/WaPo                No              No                 12               8              20             -         Yes                 2
44. Hialeah                               Hialeah, FL             7/26/13   CC/MJ/VP/WaPo                Yes             No                  6               0                6           10 q       Yes                 1
45. Santa Monica                          Santa Monica, CA         6/7/13   CC/MJ/VP/WaPo                Yes             Yes                 5               3                8           70 r       Yes                 2
46. Federal Way                           Federal Way, WA         4/21/13   MJ/VP/WaPo                    -              No                  4               0                4                -     Yes                 2
47. Upstate New York                      Herkimer County, NY     3/13/13   MJ/VP/WaPo                   -               No                  4               2                6                -     Yes                 1
48. Newtown School                        Newtown, CT            12/14/12   CC/MJ/VP/WaPo                Yes             Yes                27               2              29           154         No                4/3
49. Accent Signage Systems                Minneapolis, MN         9/27/12   CC/MJ/VP/WaPo                Yes             No                  6               2                8           46         Yes                 1
50. Sikh Temple                           Oak Creek, WI            8/5/12   CC/MJ/VP/WaPo                Yes             No                  6               4              10                 -     Yes                 1
51. Aurora Movie Theater                  Aurora, CO              7/20/12   CC/MJ/VP/WaPo                Yes             Yes                12              70              82            80         Yes                 4
52. Seattle Café                          Seattle, WA             5/30/12   CC/MJ/VP/WaPo                 No             No                  5               1                6                -     Yes                 2
53. Oikos University                      Oakland, CA              4/2/12   CC/MJ/VP/WaPo                No              No                  7               3              10                 -     Yes                 1
54. Su Jung Health Sauna                  Norcross, GA            2/22/12   MJ/WaPo                      -               No                  4               0                4                -     Yes                 1
55. Seal Beach                            Seal Beach, CA         10/14/11   CC/MJ/VP/WaPo                No              No                  8               1                9                -     Yes                 3
56. IHOP                                  Carson City, NV          9/6/11   CC/MJ/VP/WaPo                Yes             Yes                 4               7              11                 -     Yes                 3
57. Akron                                 Akron, OH                8/7/11   VP                           No              No                  7               2                9           21 s       -                   -
58. Forum Roller World                    Grand Prairie, TX       7/23/11   WaPo                          -              No                  5               4                9                -     -                   1


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                                                                                   Appendix B
                                                                            Public Mass Shootings Data
                                                                                    1982 – 2019
                                                                                                            Large                                                            Total                     Gun(s)        Offender(s)'
                                                                                                           Capacity        Assault                                        Fatalities &    Shots       Obtained       Number of
                                                                                                                       a              b                c              c               c           d              e
                        Case                       Location          Date             Source               Mag.?           Weapon?        Fatalities       Injuries        Injuries       Fired       Legally?          Guns

                          (1)                           (2)           (3)              (4)                       (5)            (6)           (7)             (8)             (9)          (10)         (11)             (12)


59. Grand Rapids                             Grand Rapids, MI         7/7/11   CC                           Yes             No                  7               2                9           10         -                   1
60. Family law practice                      Yuma, AZ                 6/2/11   WaPo                          -              -                   5               1                6                -     -                   1
61. Tucson                                   Tucson, AZ               1/8/11   CC/MJ/VP/WaPo                Yes             No                  6              13              19            33         Yes                 1
62. Jackson                                  Jackson, KY             9/11/10   VP                           No              No                  5               0                5           12 t       -                   -
63. City Grill                               Buffalo, NY             8/14/10   VP/WaPo                      -               No                  4               4                8           10 u       -                   1
64. Hartford Beer Distributor                Manchester, CT           8/3/10   CC/MJ/VP/WaPo                Yes             No                  8               2              10            11         Yes                 2
65. Yoyito Café                              Hialeah, FL              6/6/10   CC/VP/WaPo                   No              No                  4               3                7            9v        -                   -
66. Hot Spot Café                            Los Angeles, CA          4/3/10   VP/WaPo                      -               No                  4               2                6           50 w       -                   1
67. Coffee Shop Police                       Parkland, WA           11/29/09   CC/MJ/VP/WaPo                No              No                  4               0                4                -     No                  2
68. Fort Hood                                Fort Hood, TX           11/5/09   CC/MJ/VP/WaPo                Yes             No                 13              32              45           214         Yes                 1
69. Worth Street                             Mount Airy, NC          11/1/09   VP/WaPo                      -               Yes                 4               0                4           16 x       No                  1
70. Binghamton                               Binghamton, NY           4/3/09   CC/MJ/VP/WaPo                Yes             No                 13               4              17            99         Yes                 2
71. Carthage Nursing Home                    Carthage, NC            3/29/09   CC/MJ/VP/WaPo                No              No                  8               2              10                 -     Yes                 2
72. Skagit County                            Alger, WA                9/2/08   VP/WaPo                      -               No                  6               4              10                 -     No                  2
73. Atlantis Plastics                        Henderson, KY           6/25/08   CC/MJ/VP/WaPo                No              No                  5               1                6                -     Yes                 1
74. Black Road Auto                          Santa Maria, CA         3/18/08   VP/WaPo                      -               No                  4               0                4           17 y       -                   1
75. Northern Illinois University             DeKalb, IL              2/14/08   CC/MJ/VP/WaPo                Yes             No                  5              21              26            54         Yes                 4
76. Kirkwood City Council                    Kirkwood, MO             2/7/08   CC/MJ/VP/WaPo                No              No                  6               1                7                -     No                  2
77. Youth With a Mission and New Life Church Colorado Springs, CO    12/9/07   VP/WaPo                      Yes             Yes                 4               5                9           25 z       -                   3
78. Westroads Mall                           Omaha, NE               12/5/07   CC/MJ/VP/WaPo                Yes             Yes                 8               5              13            14         No                  1
79. Crandon                                  Crandon, WI             10/7/07   CC/MJ/WaPo                   Yes             -                   6               1                7           30 aa      Yes                 1
80. Virginia Tech                            Blacksburg, VA          4/16/07   CC/MJ/VP/WaPo                Yes             No                 32              17              49           176         Yes                 2
81. Trolley Square                           Salt Lake City, UT      2/12/07   CC/MJ/VP/WaPo                 No             No                  5               4                9                -     No                  2
82. Amish School                             Lancaster County, PA    10/2/06   CC/MJ/VP/WaPo                No              No                  5               5              10                 -     Yes                 3
83. The Ministry of Jesus Christ             Baton Rouge, LA         5/21/06   VP/WaPo                      -               No                  5               1                6                -     -                   1
84. Capitol Hill                             Seattle, WA             3/25/06   CC/MJ/VP/WaPo                 Yes            Yes                 6               2                8                -     Yes                 4
85. Goleta Postal                            Goleta, CA              1/30/06   CC/MJ/VP/WaPo                Yes             No                  7               0                7                -     Yes                 1
86. Sash Assembly of God                     Sash, TX                8/29/05   VP/WaPo                      -               No                  4               0                4                -     -                   2
87. Red Lake                                 Red Lake, MN            3/21/05   CC/MJ/VP/WaPo                No              No                  9               7              16                 -     No                  3


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                                                                                Appendix B
                                                                         Public Mass Shootings Data
                                                                                 1982 – 2019
                                                                                                       Large                                                           Total                     Gun(s)        Offender(s)'
                                                                                                      Capacity       Assault                                        Fatalities &    Shots       Obtained       Number of
                                                                                                                 a              b                c              c               c           d              e
                         Case                       Location      Date           Source               Mag.?          Weapon?        Fatalities       Injuries        Injuries       Fired       Legally?          Guns

                          (1)                             (2)      (3)            (4)                      (5)            (6)           (7)             (8)             (9)          (10)         (11)             (12)


 88. Living Church of God                     Brookfield, WI      3/12/05   CC/MJ/VP/WaPo              Yes            No                  7               4              11                 -     Yes                 1
 89. Fulton County Courthouse                 Atlanta, GA         3/11/05   VP/WaPo                    -              No                  4               0                4                -     No                  1
 90. Damageplan Show                          Columbus, OH        12/8/04   CC/MJ/VP/WaPo              No             No                  4               3                7           15 ab      Yes                 1
 91. Hunting Camp                             Meteor, WI         11/21/04   CC/VP/WaPo                 Yes            Yes                 6               2                8           20         -                   1
 92. ConAgra Foods Plant                      Kansas City, KS      7/3/04   VP/WaPo                    -              No                  6               1                7           10 ac      -                   2
 93. Stateline Tavern                         Oldtown, ID        10/24/03   VP/WaPo                    Yes            No                  4               0                4           14 ad      -                   1
 94. Windy City Warehouse                     Chicago, IL         8/27/03   CC/VP/WaPo                  No            No                  6               0                6                -     -                   -
 95. Lockheed Martin                          Meridian, MS         7/8/03   CC/MJ/VP/WaPo              -              No                  6               8              14                 -     Yes                 5
 96. Labor Ready                              Huntsville, AL      2/25/03   VP/WaPo                    -              No                  4               1                5                -     -                   1
 97. Bertrand Products                        South Bend, IN      3/22/02   VP/WaPo                    -              No                  4               2                6                -     -                   2
 98. Burns International Security             Sacramento, CA      9/10/01   VP/WaPo                     Yes           Yes                 5               2                7          200 ae      -                   2
 99. Bookcliff RV Park                        Rifle, CO            7/3/01   VP/WaPo                    No             No                  4               3                7            6 af      -                   1
100. Navistar                                 Melrose Park, IL     2/5/01   CC/MJ/VP/WaPo              Yes            No                  4               4                8                -     Yes                 4
101. Houston                                  Houston, TX          1/9/01   VP                         -              No                  4               0                4                -     -                   -
102. Wakefield                                Wakefield, MA      12/26/00   CC/MJ/VP/WaPo               Yes           -                   7               0                7           37         Yes                 3
103. Mount Lebanon                            Pittsburgh, PA      4/28/00   VP/WaPo                    No             No                  5               1                6                -     Yes                 1
104. Mi-T-Fine Car Wash                       Irving, TX          3/20/00   VP/WaPo                    -              No                  5               1                6                -     -                   -
105. Hotel                                    Tampa, FL          12/30/99   CC/MJ/VP/WaPo              No             No                  5               3                8                -     Yes                 2
106. Xerox                                    Honolulu, HI        11/2/99   CC/MJ/VP/WaPo              Yes            No                  7               0                7           28         Yes                 1
107. Wedgwood Baptist Church                  Fort Worth, TX      9/15/99   CC/MJ/VP/WaPo              Yes            No                  7               7              14            30         Yes                 2
108. Atlanta Day Trading                      Atlanta, GA         7/29/99   MJ/VP/WaPo                 -              No                  9              13              22                 -     Yes                 4
109. Albertson's Supermarket                  Las Vegas, NV        6/3/99   VP/WaPo                    -              No                  4               1                5                -     -                   1
110. Columbine High School                    Littleton, CO       4/20/99   CC/MJ/VP/WaPo               Yes           Yes                13              23              36           188         No                  4
111. New St. John Fellowship Baptist Church   Gonzalez, LA        3/10/99   VP/WaPo                    -              No                  4               4                8                -     -                   1
112. Thurston High School                     Springfield, OR     5/21/98   CC/MJ/VP/WaPo              Yes            No                  4              25              29            50         No                  3
113. Westside Middle School                   Jonesboro, AR       3/24/98   CC/MJ/VP/WaPo              Yes            No                  5              10              15            26         No               9/10
114. Connecticut Lottery                      Newington, CT        3/6/98   CC/MJ/VP/WaPo               Yes           No                  4               0                4            5         Yes                 1
115. Caltrans Maintenance Yard                Orange, CA         12/18/97   CC/MJ/VP/WaPo              Yes            Yes                 4               2                6          144         Yes                 1
116. Erie Manufacturing                       Bartow, FL          12/3/97   VP                         -              No                  4               0                4           12 ag      -                   -


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                                                                                 Appendix B
                                                                          Public Mass Shootings Data
                                                                                  1982 – 2019
                                                                                                          Large                                                           Total                     Gun(s)        Offender(s)'
                                                                                                         Capacity       Assault                                        Fatalities &    Shots       Obtained       Number of
                                                                                                                    a              b                c              c               c           d              e
                          Case                    Location         Date             Source               Mag.?          Weapon?        Fatalities       Injuries        Injuries       Fired       Legally?          Guns

                          (1)                         (2)           (3)              (4)                      (5)            (6)           (7)             (8)             (9)          (10)         (11)             (12)


117. R.E. Phelon Company                    Aiken, SC              9/15/97   CC/MJ/VP/WaPo                No             No                  4               3                7                -     No                  1
118. News and Sentinel                      Colebrook, NH          8/20/97   VP/WaPo                      -              Yes                 4               4                8                -     -                   2
119. Fire Station                           Jackson, MS            4/25/96   VP/WaPo                      -              No                  5               3                8                -     -                   3
120. Fort Lauderdale                        Fort Lauderdale, FL     2/9/96   CC/MJ/VP/WaPo                 No            No                  5               1                6           14 ah      Yes                 2
121. Little Chester Shoes                   New York, NY          12/19/95   VP/WaPo                      Yes            No                  5               3                8                -     -                   1
122. Piper Technical Center                 Los Angeles, CA        7/19/95   CC/VP/WaPo                    Yes           No                  4               0                4                -     -                   -
123. Walter Rossler Company                 Corpus Christi, TX      4/3/95   CC/MJ/VP/WaPo                No             No                  5               0                5                -     Yes                 2
124. Puppy creek                            Hoke County, NC       12/31/94   VP                           -              -                   5               1                6                -     -                   -
125. Air Force Base                         Fairchild Base, WA     6/20/94   CC/MJ/VP/WaPo                Yes            Yes                 4              23              27            50 ai      Yes                 1
126. Chuck E. Cheese                        Aurora, CO            12/14/93   CC/MJ/VP/WaPo                No             No                  4               1                5                -     -                   1
127. Long Island Railroad                   Garden City, NY        12/7/93   CC/MJ/VP/WaPo                Yes            No                  6              19              25            30         Yes                 1
128. Unemployment Office                    Oxnard, CA             12/2/93   VP/WaPo                      -              -                   4               4                8                -     -                   -
129. Family Fitness Club                    El Cajon, CA          10/14/93   VP/WaPo                      -              No                  4               0                4                -     Yes                 1
130. Luigi's Restaurant                     Fayetteville, NC        8/6/93   CC/MJ/VP/WaPo                 No            No                  4               8              12                 -     Yes                 3
131. Washington County Bar                  Jackson, MS             7/8/93   WaPo                         -              -                   5               0                5                -     -                   1
132. 101 California Street                  San Francisco, CA       7/1/93   CC/MJ/VP/WaPo                Yes            Yes                 8               6              14            75         No                  3
133. Card club                              Paso Robles, CA        11/8/92   VP/WaPo                      -              No                  6               1                7                -     -                   1
134. Watkins Glen                           Watkins Glen, NY      10/15/92   CC/MJ/VP/WaPo                No             No                  4               0                4                -     Yes                 1
135. Lindhurst High School                  Olivehurst, CA          5/1/92   CC/MJ/VP/WaPo                No             No                  4              10              14                 -     Yes                 2
136. Phoenix                                Phoenix, AZ            3/15/92   VP                           -              -                   4               0                4                -     -                   -
137. Royal Oak Postal                       Royal Oak, MI         11/14/91   CC/MJ/VP/WaPo                Yes            No                  4               4                8            -         Yes                 1
138. Restaurant                             Harrodsburg, KY       11/10/91   VP/WaPo                      No             No                  4               0                4            6 aj      No                  1
139. University of Iowa                     Iowa City, IA          11/1/91   CC/MJ/VP/WaPo                No             No                  5               1                6                -     Yes                 1
140. Luby's Cafeteria                       Killeen, TX           10/16/91   CC/MJ/VP/WaPo                Yes            No                 23              20              43           100         Yes                 2
141. Post office                            Ridgewood, NJ         10/10/91   VP/WaPo                      Yes            Yes                 4               0                4                -     -                   2
142. GMAC                                   Jacksonville, FL       6/18/90   CC/MJ/VP/WaPo                Yes            No                  9               4              13            14         Yes                 2
143. Standard Gravure Corporation           Louisville, KY         9/14/89   CC/MJ/VP/WaPo                Yes            Yes                 8              12              20            21         Yes                 5
144. Stockton Schoolyard                    Stockton, CA           1/17/89   CC/MJ/VP/WaPo                Yes            Yes                 5              29              34           106         Yes                 2
145. Montefiore School                      Chicago, IL            9/22/88   VP/WaPo                      No             No                  4               2                6                -     -                   1


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                                                                                                Appendix B
                                                                                         Public Mass Shootings Data
                                                                                                 1982 – 2019
                                                                                                                            Large                                                            Total                     Gun(s)        Offender(s)'
                                                                                                                           Capacity        Assault                                        Fatalities &    Shots       Obtained       Number of
                                                                                                                                       a              b                c              c               c           d              e
                          Case                               Location             Date               Source                Mag.?           Weapon?        Fatalities       Injuries        Injuries       Fired       Legally?          Guns

                           (1)                                  (2)                (3)                 (4)                       (5)            (6)           (7)             (8)             (9)          (10)         (11)             (12)


146. Old Salisbury Road                               Winston-Salem, NC           7/17/88     VP/WaPo                       -               No                  4               5                9                -     -                   1
147. ESL                                              Sunnyvale, CA               2/16/88     CC/MJ/VP/WaPo                 No              No                  7               4              11                 -     Yes                 7
148. Shopping Centers                                 Palm Bay, FL                4/23/87     CC/MJ/VP/WaPo                 Yes             No                  6              14              20            40 ak      Yes                 3
149. United States Postal Service                     Edmond, OK                  8/20/86     CC/MJ/VP/WaPo                 No              -                  14               6              20                 -     Yes                 3
150. Anchor Glass Container Corporation               South Connellsville, PA     3/16/85     VP/WaPo                       No              No                  4               1                5                -     -                   1
151. Other Place Lounge                               Hot Springs, AR             7/24/84     VP/WaPo                       No              No                  4               1                5                -     -                   1
152. San Ysidro McDonald's                            San Ysidro, CA              7/18/84     CC/MJ/VP/WaPo                 Yes             Yes                21              19              40           257         Yes                 3
153. Dallas Nightclub                                 Dallas, TX                  6/29/84     CC/MJ/VP/WaPo                 Yes             No                  6               1                7                -     No                  1
154. Alaska Mining Town                               Manley Hot Springs, AK      5/17/84     VP/WaPo                       No              No                  7               0                7                -     -                   1
155. College Station                                  Collge Station, TX        10/11/83      VP                             -              No                  6               0                6                -     -                   -
156. Alaska Back-County                               McCarthy, AK                 3/1/83     VP/WaPo                       -               No                  6               2                8                -     -                   2
157. Upper West Side Hotel                            New York, NY                 2/3/83     VP                            No              No                  4               1                5                -     -                   1
158. The Investor                                     Noyes Island, AK             9/6/82     WaPo                          -               No                  8               0                8                -     -                   1
159. Welding Shop                                     Miami, FL                   8/20/82     MJ/VP/WaPo                    No              No                  8               3              11                 -     Yes                 1
160. Western Transfer Co.                             Grand Prairie, TX            8/9/82     VP/WaPo                       -               No                  6               4              10                 -     -                   3
161. Russian Jack Springs Park                        Anchorage, AK                5/3/82     VP/WaPo                       -               No                  4               0                4                -     No                  1

                                                                                                                     Assault Weapon Average                  11.6            26.5             38.1        152.2
                                                                                                                Non-Assault Weapon Average                    6.1             3.9             10.0         37.9
                                                                                                        Large-Capacity Magazine Average                      10.1            16.7             26.7        103.3
                                                                                                   Non-Large Capacity Magazine Average                        5.7             2.9              8.6         16.4



Notes and Sources:
       Public Mass Shootings from Mother Jones ("US Mass Shootings, 1982-2019: Data from Mother Jones' Investigation," updated December 11, 2019). MJ indicates a mass shooting identified by Mother Jones.
       The Citizens Crime Commission of New York City ("Mayhem Multiplied: Mass Shooters and Assault Weapons," February 2018 update, and "Citizens Crime Commission of New York City, Mass Shooting Incidents in
       America (1984-2012)," accessed June 1, 2017). CC indicates a mass shooting identified by Citizens Crime Commission of New York City data.
       The Washington Post ("The Terrible Numbers That Grow With Each Mass Shooting,", updated December 18, 2019). WaPo indicates a mass shooting identified by The Washington Post.
       The Violence Project ("Mass Shooter Database," accessed January 17, 2020). VP indicates a mass shooting identified by the Violence Project.
   a
       Large capacity magazines are those with a capacity to hold more than 10 rounds of ammunition. Stories from Factiva and Google searches reviewed to determine whether an LCM was involved.

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                                                                                                Appendix B
                                                                                         Public Mass Shootings Data
                                                                                                 1982 – 2019
                                                                                                                             Large                                                       Total                     Gun(s)        Offender(s)'
                                                                                                                            Capacity    Assault                                       Fatalities &    Shots       Obtained       Number of
                                                                                                                                    a             b                c              c               c           d              e
                        Case                                Location              Date               Source                 Mag.?       Weapon?       Fatalities       Injuries        Injuries       Fired       Legally?          Guns

                         (1)                                   (2)                 (3)                  (4)                   (5)         (6)             (7)             (8)             (9)          (10)         (11)             (12)


b
    See Appendix C for details.
c
    Offender(s) are not included in counts of fatalities and injuries. Stories from Factiva and Google searches reviewed to determine number of fatalities and injuries.
d
    Except where noted, all data on shots fired obtained from CC.
e
    The determination of whether guns were obtained legally is based on Mother Jones and Washington Post reporting.
f
    "The Dayton gunman killed 9 people by firing 41 shots in 30 seconds. A high-capacity rifle helped enable that speed," CNN, August 5, 2019.
g
    "Authorities Describe 'Confusion And Chaos' At Borderline Bar Shooting In California," NPR, November 28, 2018.
h
    "Suspect in quadruple killing at car wash dies," CNN, January 30, 2018.
i
    "California gunman fired 30 rounds at elementary school, left when he couldn't get inside," ABC News, November 15, 2017.
j
    "'Be quiet! It's him!' Survivors say shooter walked pew by pew looking for people to shoot,"CNN , November 9, 2017.
k
    "Sheriff Says More than 1,100 Rounds Fired in Las Vegas," Las Vegas Review Journal , November 22, 2017
l
    "Fort Lauderdale Shooting Suspect Appears in Court, Ordered Held Without Bond,"Washington Post , January 9, 2017.
m
    "'We Thought It Was Part of the Music': How the Pulse Nightclub Massacre Unfolded in Orlando,"The Telegraph , June 13, 2016.
n
    "Two men charged with homicide in connection with Wilkinsburg backyard ambush,"Pittsburgh's Action News , June 24, 2016.
o
    "San Bernardino Suspects Left Trail of Clues, but No Clear Motive," New York Times , December 3, 2015.
p
    "Sheriff: Elliot Rodger Fired 50-plus Times in Isle Vista Rampage,"Los Angeles Times , June 4, 2014.
q
    "Shooter Set $10,000 on Fire in Hialeah Shooting Rampage," NBC News , July 28, 2013.
r
    "Police Call Santa Monica Gunman 'Ready for Battle,'"New York Times , June 8, 2013.
s
    "Questions linger in slayings; investigation continues in rampage as community searches for answers on why gunman shot eight people,"The Beacon Journal , August 14, 2011.
t
    "Kentucky Tragedy: Man Kills Wife, Five Others, in Rampage Over Cold Eggs, Say Cops,"CBS News , September 13, 2010.
u
    "Ex-gang member guilty of shooting 5 in deadly 17-second rampage,"NBC , April 1, 2011.
v
    "Hialeah Gunman's Rage Over Estranged Wife Leaved 5 Dead," Sun-Sentinel , June 7, 2010.
w
    "Man convicted of killing 4 at Los Angeles restaurant," Associated Press , March 15, 2016.

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                                                                                                 Appendix B
                                                                                          Public Mass Shootings Data
                                                                                                  1982 – 2019
                                                                                                                             Large                                                       Total                     Gun(s)        Offender(s)'
                                                                                                                            Capacity    Assault                                       Fatalities &    Shots       Obtained       Number of
                                                                                                                                    a             b                c              c               c           d              e
                         Case                               Location               Date              Source                 Mag.?       Weapon?       Fatalities       Injuries        Injuries       Fired       Legally?          Guns

                          (1)                                  (2)                  (3)                 (4)                   (5)         (6)             (7)             (8)             (9)          (10)         (11)             (12)


x
     "4 Victims In Mount Airy Shooting Related, Police Say,"WXII 12 News , November 2, 2009.
 y
     "Arrested suspect might have warned of Santa Maria shooting", Associated Press , March 20, 2008.
 z
     "Profile: New information released on Matthew Murray, gunman in church-related shootings in Colorado; Larry Bourbannais, wounded in one of the shootings, discusses his experience,"NBC News , December 11, 2007.
aa
     "Small Town Grieves for 6, and the Killer,"Los Angeles Times , October 9, 2007.
ab
     "National Briefing | Midwest: Ohio: Shooter At Club May Have Reloaded,"New York Times , January 15, 2005.
ac
     "Sixth person dies of injuries from shooting at Kansas meatpacking plant," Associated Press , July 3, 2004.
ad
     "Four Killed In Oldtown Shooting," The Miner , October 30, 2003.
ae
     "Sacramento shooter unscathed before killing self, autopsy shows," Associated Press , September 14, 2001.
af
     "Gunman kills 3, wounds 4 in Rifle rampage; mental patient is arrested,"The Denver Post , April 2, 2015.
ag
     "Unfinished business," Dateline NBC , December 21, 2006.
ah
     "5 Beach Workers in Florida are Slain by Ex-Colleague,"New York Times , February 10, 1996.
ai
     "Man Bent On Revenge Kills 4, Hurts 23 -- Psychiatrist Is First Slain In Rampage At Fairchild Air Force Base,"The Seattle Times , June 21, 1994.
aj
     "Man Killed Estranged Wife, Three Others as They Drove to Dinner,"Associated Press , November 11, 1991.
ak
     "6 Dead in Florida Sniper Siege; Police Seize Suspect in Massacre," Chicago Tribune , April 25, 1987.




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                                                                                Appendix C
                                                              List of Firearms Used in Public Mass Shootings
                                                                                1982 – 2019

                                                                                                                   Weapon Description From                                                            Assault
                                                                                                               a                                    b                                      c                         d
                       Case                        Location           Date          Citizens Crime Commission                      Mother Jones                         Washington Post              Weapon?

                        (1)                           (2)              (3)                     (4)                                        (5)                                     (6)                      (7)

                                                                                                                                                                 mossberg 12-gauge; .22-caliber
                                                                                                                                                                 ruger Mark IV; AR-15-style rifle;
 1. Jersey City Kosher Supermarket          Jersey City, NJ          12/10/19   -                                         -                                                                            No
                                                                                                                                                                 Ruger 9mm semiautomatic pistol;
                                                                                                                                                                 9mm glock 17
 2. Football-watching party                 Fresno, CA               11/17/19   -                                         -                                      two semiautomatic handguns            No

 3. Halloween Party                         Orinda, CA                11/1/19   -                                         -                                      -                                     -

 4. Tequila KC bar                          Kansas City, KS           10/6/19   -                                         -                                      Handgun                               No

 5. Midland-Odessa Highways                 Odessa, TX                8/31/19   -                                         semiautomatic rifle                    AR-style rifle                        Yes e
                                                                                                                          AR-15-style rifle, with a 100-         23 caliber anderson AM-15 pistol
 6. Dayton                                  Dayton, OH                 8/4/19   -                                         round capacity ammunition              modified to function like an AR-      Yes
                                                                                                                          drum                                   15 rifle, shotgun
 7. El Paso Walmart                         El Paso, TX                8/3/19   -                                         AK-47-style rifle, per authorities     7.62 caliber AK-47 style rifle        Yes

 8. Casa Grande Senior Mobile Estates       Santa Maria, CA           6/19/19   -                                         -                                      -                                     -
                                                                                                                          .45-caliber handguns; noise
                                                                                                                                                                 .45 caliber handgun with noise
 9. Virginia Beach Municipal Center         Virginia Beach, VA        5/31/19   -                                         suppressor (silencer); several high-                                         No
                                                                                                                                                                 suppressor, .45 caliber handgun
                                                                                                                          capacity magazines
                                                                                                                          Smith & Wesson handgun, with a         .40-caliber Smith & Wesson
10. Henry Pratt Co.                         Aurora, IL                2/15/19   -                                                                                                                      No
                                                                                                                          green sighting laser                   semiautomatic handgun
11. SunTrust Bank                           Sebring, FL               1/23/19   -                                         9 mm handgun                           9mm semiautomatic handgun             No
                                                                                                                          Glock 21, .45 caliber; high-
12. Borderline Bar & Grill                  Thousand Oaks, CA         11/7/18   -                                                                                Glock 21 .45-caliber handgun          No
                                                                                                                          capacity magazine
                                                                                                                                                                 Colt AR-15 semiautomatic rifle;
13. Tree of Life Synagogue                  Pittsburgh, PA           10/27/18   -                                         AR-15; Glock .357                                                            Yes f
                                                                                                                                                                 three glock .357 pistols
14. T&T Trucking                            Bakersfield, CA           9/12/18   -                                         -                                      .50-caliber Smith & Wesson 500        No g

15. Capital Gazette                         Annapolis, MD             6/28/18   -                                         12-gauge pump-action shotgun           2 gauge shotgun                       No

16. Santa Fe High School                    Santa Fe, TX              5/18/18   -                                         shotgun; .38 revolver                  .38 caliber revolver, shotgun         No

17. Waffle House                            Nashville, TN             4/22/18   -                                         AR-15                                  AR-15-style semiautomatic rifle       Yes h

18. Detroit                                 Detroit, MI               2/26/18   -                                         -                                      -                                     No
                                                                                                                                                                 .223 caliber smith & wesson
19. Stoneman Douglas HS                     Parkland, FL              2/14/18   -                                         AR-15                                  M&P 15 semiautomatic ar 15            No i
                                                                                                                                                                 rifle
                                                                                                                                                                 AR-15 .223-caliber
                                                                                                                          semiautomatic rifle and                                                                j
20. Pennsylvania Carwash                    Melcroft, PA              1/28/18   -                                                                                semiautomatic rifle; 9mm              -
                                                                                                                          semiautomatic handgun
                                                                                                                                                                 handgun
                                                                                                                                                                 two semiautomatic rifles; two
21. Rancho Tehama                           Rancho Tehama, CA        11/14/17   -                                         Two illegally modified rifles                                                Yes k
                                                                                                                                                                 handguns
                                                                                                                          Ruger AR-556; Kelley also
                                                                                                                          possessed semiautomatic                9mm Glock pistol; Ruger .22-
22. Texas First Baptist Church              Sutherland Springs, TX    11/5/17   -                                                                                                                      Yes l
                                                                                                                          handguns                               caliber; Ruger AR-556




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                                                                           Appendix C
                                                         List of Firearms Used in Public Mass Shootings
                                                                           1982 – 2019

                                                                                                            Weapon Description From                                                        Assault
                                                                                                        a                                  b                                        c                 d
                        Case                 Location          Date          Citizens Crime Commission                      Mother Jones                       Washington Post            Weapon?

                        (1)                     (2)             (3)                     (4)                                        (5)                                   (6)                    (7)

                                                                                                                   AR-15-style and AK-47-style
                                                                                                                   rifles and "a large cache of
                                                                                                                   ammunition"; four Daniel
23. Las Vegas Strip                    Las Vegas, NV           10/1/17   -                                                                             -                                    Yes m
                                                                                                                   Defense DDM4 rifles, three FN-
                                                                                                                   15s and other rifles made by Sig
                                                                                                                   Sauer.
24. Taos and Rio Arriba counties       Abiquiu, NM             6/15/17   -                                         -                                   .38 caliber revolver                 No
                                                                                                                                                       semiautomatic rifle (2); handgun
25. Fiamma Workplace                   Orlando, FL              6/5/17   -                                         semiautomatic handgun                                                    No
                                                                                                                                                       (2)
26. Marathon Savings Bank              Rothschild, WI          3/22/17   -                                         -                                   Rifle, handgun                       No

27. Club 66                            Yazoo City, MS           2/6/17   -                                         -                                   -                                    -
                                                                                                                   Walther 9mm semi-automatic
28. Fort Lauderdale Airport            Fort Lauderdale, FL      1/6/17   -                                                                             9mm semiautomatic handgun            No
                                                                                                                   pistol
29. Cascade Mall                       Burlington, WA          9/23/16   -                                         Ruger .22-caliber                   Ruger .22-caliber rifle              No n
                                                                                                                   Izhmash-Saiga 5.45mm (AK-
                                                                                                                   style) semiautomatic rifle with
30. Dallas Police                      Dallas, TX               7/7/16   -                                         large capacity magazines; Glock     SKS-type semiautomatic rifle         Yes o
                                                                                                                   9mm handgun, .25-caliber
                                                                                                                   semiautomatic handgun
31. Walgreens Parking Lot              Las Vegas, NV           6/29/16   -                                         -                                   -                                    -
                                                                                                                   Sig Sauer MCX rifle, Glock 17       .223-caliber Sig Sauer MCX
32. Orlando Nightclub                  Orlando, FL             6/12/16   -                                         9mm; high-capacity magazines        semiautomatic rifle; 9mm             Yes p
                                                                                                                   (30 rounds)                         semiautomatic glock 17 pistol
                                                                                                                                                       AK-47-style rifle, .40-caliber
33. Franklin Avenue Cookout            Wilkinsburg, PA          3/9/16   -                                         -                                                                        Yes
                                                                                                                                                       handgun
                                                                                                                   9 mm handgun (ammo used             Walther P-99 9mm semiautomatic
34. Kalamazoo                          Kalamazoo County, MI    2/20/16   -                                                                                                                  No
                                                                                                                   unclear)                            handgun
                                                                                                                   Two semiautomatic AR-15-style
                                                                                                                   rifles—one a DPMS A-15, the         DPMS AR-15-style rifle; Smith
                                                                                                                   other a Smith & Wesson              & Wesson M&P AR-15-style
35. San Bernardino                     San Bernardino, CA      12/2/15   -                                         M&P15, both with .223 calibre       rifle; Llama semiautomatic 9mm       Yes q
                                                                                                                   ammunition. Two 9mm                 pistol; Smith & Wesson
                                                                                                                   semiautomatic handguns. High        semiautomatic 9mm pistol
                                                                                                                   capacity magazines.
36. Tennessee Colony campsite          Anderson County, TX    11/15/15   -                                         -                                   -                                    -
                                                                                                                   9 mm Glock pistol, .40 caliber
                                                                                                                   Smith & Wesson, .40 caliber
37. Umpqua Community College           Roseburg, OR            10/1/15   -                                                                             rifle; five pistols                  No r
                                                                                                                   Taurus pistol, .556 caliber Del-
                                                                                                                   Ton; (ammo details unclear)
                                                                                                                                                       AR-15-style semiautomatic rifle;
                                                                                                                   AK-47, AR-15, and 30-round
38. Chattanooga Military Center        Chattanooga, TN         7/16/15   -                                                                             9mm pistol; AK-47-type               Yes s
                                                                                                                   magazines; 9mm handgun
                                                                                                                                                       semiautomatic rifle
                                                                                                                   .45-caliber Glock (model 41, with
39. Charleston Church                  Charleston, SC          6/17/15   -                                                                             .45-caliber glock 41 pistol          No
                                                                                                                   13-round capacity magazine)

40. Marysville High School             Marysville, WA         10/24/14   -                                         Beretta .40-caliber handgun         .40-caliber beretta pistol           No

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                                                                      Appendix C
                                                    List of Firearms Used in Public Mass Shootings
                                                                      1982 – 2019

                                                                                                                             Weapon Description From                                                         Assault
                                                                                                               a                                           b                                      c                    d
                       Case             Location         Date                     Citizens Crime Commission                                    Mother Jones                    Washington Post              Weapon?

                       (1)                 (2)            (3)                                   (4)                                                 (5)                                   (6)                  (7)

                                                                                                                                    Two Sig Sauer P226
                                                                                                                                    semiautomatic pistols and Glock
                                                                                                                                    34 pistol, and hundreds of rounds   Sig Sauer P226s pistol; Glock 34
41. Isla Vista                    Santa Barbara, CA      5/23/14   -                                                                                                                                          No
                                                                                                                                    of ammo. A 6- inchand 8-inch        pistol; Sig Sauer P226s pistol
                                                                                                                                    “SRK” and “Boar Hunter”
                                                                                                                                    hunting knives.
42. Alturas Tribal                Alturas, CA            2/20/14   -                                                                9mm semi-automatic handgun          Unknown                               No

                                                                                                                                    Remington 870 Express 12-gauge      beretta pistol; Remington 970
43. Washington Navy Yard          Washington, D.C.       9/16/13   -                                                                                                                                          No
                                                                                                                                    shotgun; Beretta handgun            Express 12-gauge shotgun

44. Hialeah                       Hialeah, FL            7/26/13   -                                                                Glock 17                            Glock 17 pistol                       No

                                                                                                                                    .223-caliber semi-automatic
                                                                                                                                                                        Black powder .33-caliber
                                                                                                                                    assault rifle, about 40 high
45. Santa Monica                  Santa Monica, CA        6/7/13   -                                                                                                    handgun; AR-15 type .223-             Yes t
                                                                                                                                    capacity magazines, "black
                                                                                                                                                                        caliber semiautomatic rifle
                                                                                                                                    powder" handgun (likely antique)
                                                                                                                                    .40 caliber semi-automatic          .40 caliber semiautomatic pistol;
46. Federal Way                   Federal Way, WA        4/21/13   -                                                                                                                                          No u
                                                                                                                                    handgun, pistol grip shotgun        pistol grip shotgun
47. Upstate New York              Herkimer County, NY    3/13/13   -                                                                Unknown                             Unknown                               No v

                                                                   An unknown make and model .22-caliber rifle, a
                                                                   Bushmaster XM15 .223-caliber semiautomatic assault
                                                                   rifle equipped with a 30-round large capacity ammunition
                                                                   magazine, and a GLOCK 10mm handgun were used.                                                        9mm SIG Sauer P226 pistol
                                                                                                                                    10mm Glock, 9mm SIG Sauer
                                                                   According to the Danbury State's Attorney, police also                                               ;Savage Mark II bolt-action .22-
                                                                                                                                    P226 semiautomatic handguns;
                                                                   recovered in Lanza's possession a SIG SAUER P226 9mm                                                 caliber rifle; .223 Bushmaster
                                                                                                                                    .223 Bushmaster XM15-E2S
48. Newtown School                Newtown, CT           12/14/12   handgun and three loaded 30-round large capacity                                                     XM15-E2S semiautomatic rifle;         Yes w
                                                                                                                                    semiautomatic rifle; Izhmash
                                                                   ammunition magazines for the Bushmaster. Six additional 30-                                          izhmash Saiga 12-gauge
                                                                                                                                    Saiga-12 12-gauge semiautomatic
                                                                   round large capacity ammunition magazines were recovered                                             semiautomatic shotgun; 10mm
                                                                                                                                    shotgun
                                                                   at the scene. A loaded unknown make and model 12-gauge                                               Glock pistol
                                                                   shotgun was found in the passenger compartment of the car
                                                                   (later moved to the trunk by police). All of the guns used in
                                                                   the shooting were purchased by Lanza's mother.

                                                                   GLOCK 19 9mm semiautomatic pistol equipped with a 15-
                                                                   round large capacity ammunition magazine. Engeldinger
                                                                   purchased the firearm one year before the shooting at
                                                                                                                                    9mm Glock semiautomatic
49. Accent Signage Systems        Minneapolis, MN        9/27/12   KGS Guns and Ammo in Minneapolis after passing a                                                     9mm glock pistol                      No
                                                                                                                                    handgun
                                                                   background check and obtaining a permit to purchase.
                                                                   Police reportedly found packaging for 10,000 rounds of
                                                                   ammunition and another handgun in Engeldinger's home.




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                                                       List of Firearms Used in Public Mass Shootings
                                                                         1982 – 2019

                                                                                                                            Weapon Description From                                                          Assault
                                                                                                               a                                          b                                     c                       d
                          Case             Location       Date                    Citizens Crime Commission                                 Mother Jones                       Washington Post              Weapon?

                          (1)                 (2)          (3)                                 (4)                                                (5)                                   (6)                       (7)

                                                                    Springfield Armory XD(M) 9mm semiautomatic handgun
                                                                    equipped with a 19-round large capacity ammunition
                                                                    magazine. Weeks before the shooting, Wade legally
                                                                    purchased the handgun and three 19-round large capacity
                                                                    ammunition magazines from a federal firearms licensed
                                                                    dealer in nearby West Allis, WI. According to media
                                                                    reports, Wade served in the U.S. Army from 1992 until
                                                                    1998, when he was given an other-than-honorable                9mm Springfield Armory XDM          9mm springfield armory XDM
50. Sikh Temple                      Oak Creek, WI         8/5/12                                                                                                                                             No
                                                                    discharge or general discharge. In 1994, while stationed at    semiautomatic handgun               pistol
                                                                    Fort Bliss in Texas, he was arrested by El Paso police, and
                                                                    pled guilty to a misdemeanor charge of criminal mischief.
                                                                    Federal law does not prohibit persons with convictions for
                                                                    misdemeanors other than domestic violence misdemeanors
                                                                    or persons who have been discharged from the military
                                                                    for reasons other than "dishonorably" from purchasing
                                                                    firearms.
                                                                    A Smith & Wesson M&P15 assault rifle equipped with a
                                                                    100-round drum large capacity ammunition magazine, a
                                                                    Remington Model 870 12-gauge pump shotgun, and two
                                                                    GLOCK .40 caliber handguns, were recovered at the              Two .40-caliber Glock
                                                                                                                                                                       .40-caliber glock pistol; 12-gauge
                                                                    scene by police. In the months leading to the shooting,        semiautomatic handguns; .223-
                                                                                                                                                                       pump-action Remington 870
                                                                    Holmes purchased the weapons and 6,000-rounds of               caliber Smith & Wesson
51. Aurora Movie Theater             Aurora, CO           7/20/12                                                                                                      shotgun; .223-caliber Smith &          Yes x
                                                                    ammunition at gun shops and over the Internet. In              M&P15 semiautomatic rifle; 12-
                                                                                                                                                                       Wesson M&P15 semiautomatic
                                                                    addition to the weapons used in the shooting, Holmes           gauge Remington 870 pump-
                                                                                                                                                                       AR-15-style rifle
                                                                    booby-trapped his apartment, rigging trip wire to              action shotgun
                                                                    detonate 30 plastic shells stuffed with gunpowder, several
                                                                    glass jars filled with gasoline and gunpowder, and 10
                                                                    gallons of gasoline in canisters.
                                                                                                                                   Two .45-caliber semiautomatic
52. Seattle Café                     Seattle, WA          5/30/12   -                                                                                                  .45-caliber pistol (2)                 No
                                                                                                                                   handguns
                                                                                                                                   .45-caliber semiautomatic
53. Oikos University                 Oakland, CA           4/2/12   -                                                                                                  .45-caliber pistol                     No
                                                                                                                                   handgun
                                                                                                                                   .45-caliber semiautomatic
54. Su Jung Health Sauna             Norcross, GA         2/22/12   -                                                                                                  -                                      No
                                                                                                                                   handgun
                                                                                                                                   .45-caliber Heckler & Koch, 9mm
                                                                                                                                   Springfield semiautomatic
55. Seal Beach                       Seal Beach, CA      10/14/11   -                                                                                                  -                                      No
                                                                                                                                   handguns; .44 Magnum Smith &
                                                                                                                                   Wesson revolver
                                                                    AK-47 type assault rifle equipped with a 30-round large        AK-47 Norinco Arms variant,
                                                                                                                                                                       AK-47 variant semiautomatic
56. IHOP                             Carson City, NV       9/6/11   capacity ammunition magazine. Two additional guns and two      AK-47 Romarm Cugir variant                                                 Yes y
                                                                                                                                                                       rifle
                                                                    more magazines were found in his vehicle.                      rifles; .38-caliber Colt revolver
57. Akron                            Akron, OH             8/7/11   -                                                              -                                   -                                      No z

58. Forum Roller World               Grand Prairie, TX    7/23/11   -                                                              -                                   -                                      No aa
                                                                    GLOCK 9mm semiautomatic pistol (unknown model)
                                                                                                                                   -
59. Grand Rapids                     Grand Rapids, MI      7/7/11   equipped with a 30-round large capacity ammunition                                                 -                                      No
                                                                    magazine.
60. Family law practice              Yuma, AZ              6/2/11   -                                                              -                                   -                                      -


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                                                                        Appendix C
                                                      List of Firearms Used in Public Mass Shootings
                                                                        1982 – 2019

                                                                                                                       Weapon Description From                                                    Assault
                                                                                                           a                                          b                                  c                  d
                         Case             Location     Date                    Citizens Crime Commission                              Mother Jones                   Washington Post             Weapon?

                         (1)                 (2)        (3)                                (4)                                               (5)                              (6)                   (7)

                                                                 GLOCK 19 9mm semiautomatic pistol equipped with a 33-
                                                                 round large capacity ammunition magazine. Loughner
                                                                 was also carrying two 15-round large capacity
                                                                 ammunition magazines, and a knife. The ATF determined        9mm Glock 19 semiautomatic
61. Tucson                          Tucson, AZ          1/8/11                                                                                                9mm glock 19 pistol                  No
                                                                 Loughner legally purchased the GLOCK pistol with an          handgun
                                                                 extended magazine and one box of Winchester
                                                                 ammunition on November 30, 2010, from Sportsman's
                                                                 Warehouse in Tucson.
62. Jackson                         Jackson, KY        9/11/10   -                                                            -                               -                                    No ab

63. City Grill                      Buffalo, NY        8/14/10   -                                                            -                               9mm pistol                           No
                                                                 Two Ruger SR9 9mm semiautomatic pistols equipped with
                                                                                                                              Two 9mm Ruger SR9
64. Hartford Beer Distributor       Manchester, CT      8/3/10   17-round magazines. Thornton purchased both firearms                                         9mm Ruger SR9 pistol (2)             No
                                                                                                                              semiautomatic handguns
                                                                 legally from an East Windsor, CT gun dealer.
                                                                                                                              -
65. Yoyito Café                     Hialeah, FL         6/6/10   -                                                                                            .45-caliber Glock pistol             No ac

66. Hot Spot Café                   Los Angeles, CA     4/3/10   -                                                            -                               -                                    No ad
                                                                                                                              9mm Glock 17 semiautomatic
                                                                                                                                                              .38-caliber Smith & Wesson
67. Coffee Shop Police              Parkland, WA      11/29/09   -                                                            handgun; .38-caliber Smith &                                         No
                                                                                                                                                              revolver; 9mm Glock 17 pistol
                                                                                                                              Wesson revolver
                                                                 FN Herstal 5.7 Tactical Pistol equipped with 20-round
                                                                 large capacity ammunition magazine. When Hasan was
                                                                 apprehended, investigators found in his possession 177-
                                                                 rounds in 30-round and 20-round large capacity               FN Five-seven semiautomatic
68. Fort Hood                       Fort Hood, TX      11/5/09                                                                                                FN Five-seven pistol                 No
                                                                 ammunition magazines, another handgun, a revolver, and       handgun
                                                                 two gunsights (for different lighting conditions). Hasan
                                                                 purchased the FN Herstal 5.7 Tactical Pistol legally at
                                                                 Guns Galore, a shop in Killeen, TX
69. Worth Street                    Mount Airy, NC     11/1/09   -                                                            -                               High-powered assault-style rifle     Yes
                                                                 Beretta .45-caliber semiautomatic pistol, Beretta 9mm
                                                                                                                              9mm Beretta, .45-caliber
                                                                 semiautomatic pistol (models unknown), and two 30-round                                      9mm Beretta pistol; .45-caliber
70. Binghamton                      Binghamton, NY      4/3/09                                                                Springfield semiautomatic                                            No
                                                                 large capacity ammunition magazines and two 15-round                                         Springfield pistol
                                                                                                                              handguns
                                                                 large capacity ammunition magazines.
                                                                                                                                                              .357 magnum revolver;
                                                                                                                              Winchester 1300 pump-action
71. Carthage Nursing Home           Carthage, NC       3/29/09   -                                                                                            Winchester 1300 pump-action          No
                                                                                                                              shotgun; .357 Magnum revolver
                                                                                                                                                              shotgun
                                                                                                                                                              lever-action winchester rifle,
72. Skagit County                   Alger, WA           9/2/08   -                                                            -                                                                    No
                                                                                                                                                              handgun
                                                                                                                              .45-caliber Hi-Point
73. Atlantis Plastics               Henderson, KY      6/25/08   -                                                                                            .45-caliber Hi-Point pistol          No
                                                                                                                              semiautomatic handgun
74. Black Road Auto                 Santa Maria, CA    3/18/08   -                                                            -                               semiautomatic handgun                No




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                                                             List of Firearms Used in Public Mass Shootings
                                                                               1982 – 2019

                                                                                                                                        Weapon Description From                                                       Assault
                                                                                                                           a                                          b                                   c                     d
                        Case                         Location         Date                    Citizens Crime Commission                                 Mother Jones                    Washington Post              Weapon?

                         (1)                            (2)            (3)                                 (4)                                                (5)                               (6)                     (7)

                                                                                SIG SAUER Kurz 9mm semiautomatic pistol, Hi-Point
                                                                                CF380 .380 caliber semiautomatic pistol, GLOCK 19 9mm
                                                                                semiautomatic pistol, Remington Sportsman 48 12-gauge
                                                                                                                                               9mm Glock 19, Hi-Point CF380,     12-gauge Remington Sportsman
                                                                                shotgun, and 33-round and 15-round large capacity
                                                                                                                                               9mm Kurz SIG Sauer P232           48 sawed-off shotgun; 9mm glock
                                                                                ammunition magazines. Kazmierczak purchased all four
75. Northern Illinois University               DeKalb, IL             2/14/08                                                                  semiautomatic handguns; 12-       19 pistol; 9mm Kurz SIG Sauer         No ae
                                                                                weapons from Tony's Gun & Ammo in Champaign, IL
                                                                                                                                               gauge Remington Sportsman 48      P232 pistol; Hi-Point CF380
                                                                                between August 3, 2007 and February 9, 2008.
                                                                                                                                               sawed-off shotgun                 pistol
                                                                                Kazmierczak also purchased gun accessories from a
                                                                                website operated by TGSCOM, Inc., the same company
                                                                                patronized by the VA Tech shooter.
                                                                                                                                               .40-caliber Smith & Wesson
                                                                                                                                                                                 .40-caliber Smith & Wesson
                                                                                                                                               semiautomatic handgun; .44
76. Kirkwood City Council                      Kirkwood, MO            2/7/08   -                                                                                                pistol; .44 Magnum Smith &            No
                                                                                                                                               Magnum Smith & Wesson Model
                                                                                                                                                                                 Wesson Model 29 revolver
                                                                                                                                               29 revolver
                                                                                                                                                                                 A pistol, .223-caliber
77. Youth With a Mission and New Life Church   Colorado Springs, CO   12/9/07   -                                                              -                                 Bushmaster XM16 rifle, .40-           Yes
                                                                                                                                                                                 caliber Beretta pistol
                                                                                WASR-10 semiautomatic assault rifle and two 30-round           WASR-10 Century Arms              WASR-10 Century Arms
78. Westroads Mall                             Omaha, NE              12/5/07                                                                                                                                          Yes af
                                                                                large capacity ammunition magazines.                           semiautomatic rifle               semiautomatic rifle
79. Crandon                                    Crandon, WI            10/7/07   -                                                              AR-15 SWAT semiautomatic rifle    AR-15-style semiautomatic rifle       -      ag

                                                                                GLOCK 19 9mm semiautomatic pistol and Walther P22
                                                                                .22-caliber semiautomatic pistol. Investigators found a
                                                                                total of 17 empty magazines at the scene of the shooting, a
                                                                                mix of several 15-round, and 10-round magazines loaded
                                                                                with hollow-point rounds (bullets with the tip hollowed
                                                                                out, designed to expand upon impact). He possessed over
                                                                                400 rounds of ammunition. Cho ordered the Walther P22
                                                                                from a website operated by TGSCOM, Inc. Kazmierczak
                                                                                patronized the same company before the NIU shooting.
                                                                                                                                               9mm Glock 19, .22-caliber
                                                                                On February 9, 2007, Cho picked up the pistol from J-N-D                                         .22-caliber Walther P22 pistol;
80. Virginia Tech                              Blacksburg, VA         4/16/07                                                                  Walther P22 semiautomatic                                               No
                                                                                Pawn-brokers, located across the street from the VA Tech                                         9mm Glock 19 pistol
                                                                                                                                               handguns
                                                                                campus. In compliance with the state law limiting
                                                                                handgun purchases to one every 30 days, Cho purchased
                                                                                the GLOCK 19 on March 13, 2007. He also purchased
                                                                                five 10-round magazines from eBay in March. Cho's
                                                                                purchase of these firearms was in violation of federal law;
                                                                                he was disqualified from purchasing or possessing a
                                                                                firearm and ammunition, because a special justice of the
                                                                                Montgomery County General District Court had found
                                                                                him to be a danger to himself on December 14, 2005.
                                                                                                                                               Mossberg Maverick 88 Field        .38-caliber Smith & Wesson M36
81. Trolley Square                             Salt Lake City, UT     2/12/07   -                                                              shotgun; .38-caliber Smith &      revolver; Mossberg Maverick 88        No
                                                                                                                                               Wesson M36 revolver               Field shotgun
                                                                                                                                               Springfield semiautomatic         12-gauge Browning pump-action
                                                                                                                                               handgun; .30-06 Ruger bolt-       shotgun; .30-06 Ruger bolt-action
82. Amish School                               Lancaster County, PA   10/2/06   -                                                                                                                                      No ah
                                                                                                                                               action rifle; 12-gauge Browning   rifle; Springfield 9mm
                                                                                                                                               pump-action shotgun               semiautomatic handgun
83. The Ministry of Jesus Christ               Baton Rouge, LA        5/21/06   -                                                              -                                 -                                     No ai


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                                                                            1982 – 2019

                                                                                                                            Weapon Description From                                                         Assault
                                                                                                               a                                          b                                         c                 d
                         Case                 Location      Date                   Citizens Crime Commission                                Mother Jones                       Washington Post             Weapon?

                          (1)                       (2)      (3)                                (4)                                               (5)                                  (6)                    (7)

                                                                                                                                   .40-caliber Ruger, one other
                                                                                                                                   semiautomatic handgun;
                                                                                                                                   Bushmaster XM15 E2S                 12-gauge pump-action
 84. Capitol Hill                       Seattle, WA         3/25/06   -                                                            semiautomatic rifle; 12-gauge       Winchester Defender shotgun; .40-     Yes aj
                                                                                                                                   Winchester Defender pump-           caliber Ruger pistol
                                                                                                                                   action shotgun with extended tube
                                                                                                                                   and pistol grip
                                                                      Smith & Wesson 915 9mm semiautomatic handgun
                                                                      equipped with a 15-round large capacity ammunition           9mm Smith & Wesson 915
 85. Goleta Postal                      Goleta, CA          1/30/06                                                                                                    9mm Smith & Wesson 915 pistol         No
                                                                      magazine. San Marco purchased the firearm at a pawn          semiautomatic handgun
                                                                      shop in New Mexico in August 2005.
                                                                                                                                                                       9mm semiautomatic pistol, .38-
 86. Sash Assembly of God               Sash, TX            8/29/05   -                                                            -                                                                         No
                                                                                                                                                                       caliber revolver
                                                                                                                                   .40-caliber Glock 23, .22-caliber
                                                                                                                                                                       .22-caliber Ruger pistol (2); 12-
 87. Red Lake                           Red Lake, MN        3/21/05   -                                                            Ruger semiautomatic handguns;                                             No
                                                                                                                                                                       gauge Remington 870 shotgun
                                                                                                                                   12-gauge Remington 870 shotgun
                                                                                                                                   9mm Beretta semiautomatic
 88. Living Church of God               Brookfield, WI      3/12/05   -                                                                                                9mm beretta pistol                    No
                                                                                                                                   handgun
 89. Fulton County Courthouse           Atlanta, GA         3/11/05   -                                                            -                                   9mm pistol                            No
                                                                                                                                   9mm Beretta 92FS semiautomatic
 90. Damageplan Show                    Columbus, OH        12/8/04   -                                                                                                9mm beretta 92FS pistol               No
                                                                                                                                   handgun
                                                                      SKS 7.62mm semiautomatic assault rifle equipped with a       -                                   7.62mm SKS semiautomatic
 91. Hunting Camp                       Meteor, WI         11/21/04                                                                                                                                          Yes ak
                                                                      20-round large capacity ammunition magazine.                                                     rifle
 92. ConAgra Foods Plant                Kansas City, KS      7/3/04   -                                                            -                                   9mm pistol, revolver                  No

 93. Stateline Tavern                   Oldtown, ID        10/24/03   -                                                            -                                   semiautomatic pistol                  No
                                                                                                                                   -
 94. Windy City Warehouse               Chicago, IL         8/27/03   -                                                                                                .38-caliber Walther pistol            No al
                                                                                                                                   .45-caliber Ruger P90
                                                                                                                                   semiautomatic handgun; .22-
                                                                                                                                                                       .223-caliber Ruger Mini-14 rifle;
                                                                                                                                   caliber rifle with scope, .223-
 95. Lockheed Martin                    Meridian, MS         7/8/03   -                                                                                                12-gauge Winchester 1300              No am
                                                                                                                                   caliber Ruger Mini-14 rifle; 12-
                                                                                                                                                                       shotgun
                                                                                                                                   gauge Winchester 1300 shotgun;
                                                                                                                                   .22 Magnum derringer
 96. Labor Ready                        Huntsville, AL      2/25/03   -                                                            -                                   semiautomatic 9mm pistol              No
                                                                                                                                                                       .22-caliber rifle, sawed-off
 97. Bertrand Products                  South Bend, IN      3/22/02   -                                                            -                                                                         No
                                                                                                                                                                       shotgun
                                                                                                                                                                       AK-47-type semiautomatic rifle,
 98. Burns International Security       Sacramento, CA      9/10/01   -                                                            -                                                                         Yes an
                                                                                                                                                                       9mm pistol
 99. Bookcliff RV Park                  Rifle, CO            7/3/01   -                                                            -                                   .38 caliber Charter Arms revolver     No
                                                                                                                                   SKS 1954R, .30-caliber              12-gauge Remington pump-action
                                                                                                                                   Winchester rifles; 12-gauge         shotgun; SKS 1954R rifle; .30-
100. Navistar                           Melrose Park, IL     2/5/01   -                                                                                                                                      No ao
                                                                                                                                   Remington pump-action shotgun;      caliber Winchester rifle; .38-
                                                                                                                                   .38-caliber revolver                caliber revolver;
101. Houston                            Houston, TX          1/9/01   -                                                            -                                   -                                     No ap



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                                                                                 1982 – 2019

                                                                                                                                      Weapon Description From                                                          Assault
                                                                                                                        a                                           b                                    c                         d
                       Case                         Location     Date                     Citizens Crime Commission                                   Mother Jones                     Washington Post                Weapon?

                           (1)                          (2)       (3)                                   (4)                                                 (5)                                 (6)                         (7)

                                                                                                                                             .32-caliber Retolaza
                                                                           AK-47-type semiautomatic assault rifle, unknown make                                                 .32-caliber Retolaza pistol; AK-
                                                                                                                                             semiautomatic handgun; AK-47
                                                                           and model 12-gauge shotgun, unknown make and model .32-                                              47 variant semiautomatic rifle; 12-               aq
102. Wakefield                                Wakefield, MA     12/26/00                                                                     variant semiautomatic rifle; 12-                                           -
                                                                           caliber semiautomatic pistol, and 60-round large capacity                                            gauge Winchester 1300 pump-
                                                                                                                                             gauge Winchester 1300 pump-
                                                                           ammunition magazine.                                                                                 action shotgun
                                                                                                                                             action shotgun
103. Mount Lebanon                            Pittsburgh, PA     4/28/00   -                                                                 -                                  .357 Magnum revolver                    No

104. Mi-T-Fine Car Wash                       Irving, TX         3/20/00   -                                                                 -                                  semiautomatic .9mm pistol               No
                                                                                                                                             9mm Lorcin semiautomatic
                                                                                                                                                                                .38-caliber Charter Arms
105. Hotel                                    Tampa, FL         12/30/99   -                                                                 handgun; .38-caliber Charter                                               No
                                                                                                                                                                                revolver; 9mm Lorcin pistol
                                                                                                                                             Arms revolver
                                                                           GLOCK 17 9mm semiautomatic pistol and three 17-round
                                                                           large capacity ammunition magazines, loaded with hollow
                                                                                                                                             9mm Glock 17 semiautomatic
106. Xerox                                    Honolulu, HI       11/2/99   point bullets (bullets with the tip hollowed out, designed to                                        9mm Glock 17 pistol                     No
                                                                                                                                             handgun
                                                                           expand upon impact). Uyesugi legally purchased the
                                                                           GLOCK in 1989.
                                                                           Ruger P85 9mm semiautomatic pistol, unknown make and
                                                                           model .380 caliber semiautomatic pistol, and three 15-
                                                                                                                                             .380-caliber, 9mm Ruger P85        .380-caliber revolver; 9mm Ruger
107. Wedgwood Baptist Church                  Fort Worth, TX     9/15/99   round large capacity ammunition magazines. Ashbrook                                                                                          No
                                                                                                                                             semiautomatic handguns             P85 pistol
                                                                           legally acquired both weapons from federally licensed
                                                                           firearms dealers in 1992.
                                                                                                                                             .45-caliber Colt 1911-A1, 9mm      .45-caliber Colt 1911-A1 pistol;
                                                                                                                                             Glock 17, .25-caliber Raven Arms   .22-caliber Harrington &
108. Atlanta Day Trading                      Atlanta, GA        7/29/99   -                                                                 MP-25 semiautomatic handguns;      Richardson revolver; .25-caliber        No
                                                                                                                                             .22-caliber Harrington &           Raven Arms Mp-25 pistol; 9mm
                                                                                                                                             Richardson revolver                Glock 17 pistol

109. Albertson's Supermarket                  Las Vegas, NV       6/3/99   -                                                                 -                                  12-gauge pump-action shotgun            No

                                                                           Savage Springfield 67H 12-gauge pump-action shotgun,
                                                                           Savage Stevens 311D 12-gauge sawedoff shotgun, Hi-Point
                                                                           995 9mm semiautomatic rifle, INTRATEC TEC-DC9
                                                                           9mm semiautomatic pistol, and thirteen 10-round                   9mm Intratec DC-9
                                                                                                                                                                                9mm Hi-Point 995 carbine; 12-
                                                                           magazines, one 52-, one 32-, one 28-round large capacity          semiautomatic handgun; 9mm
                                                                                                                                                                                gauge sawed-off Savage Stevens
                                                                           ammunition magazines. Harris and Klebold illegally acquired       Hi-Point 995 carbine rifle; 12-
                                                                                                                                                                                311D shotgun; 12-gauge sawed-
110. Columbine High School                    Littleton, CO      4/20/99   the shotguns and Hi- Point rifle through a "straw purchase" (a    gauge sawed-off Savage Stevens                                             Yes ar
                                                                                                                                                                                off Savage Springfield 67H pump-
                                                                           transaction in which a legal buyer makes a purchase for           311D, 12-gauge sawed-off Savage
                                                                                                                                                                                action shotgun; 9mm Intratec
                                                                           someone who cannot legally purchase the firearm). Their           Springfield 67H pump-action
                                                                                                                                                                                DC-9 machine pistol
                                                                           friend, Robyn Anderson, purchased the three firearms at the       shotguns
                                                                           Tanner Gun Show from unlicensed sellers in December of
                                                                           1998. A pizza shop employee, Mark Manes, illegally sold
                                                                           them the INTRATEC TEC-DC9.

111. New St. John Fellowship Baptist Church   Gonzalez, LA       3/10/99   -                                                                 -                                  semiautomatic pistol                    No
                                                                           GLOCK 19 9mm semiautomatic pistol, Ruger (unknown
                                                                           model) .22-caliber semiautomatic pistol, Ruger (unknown           9mm Glock, .22-caliber Ruger       9mm Glock pistol; .22-caliber
112. Thurston High School                     Springfield, OR    5/21/98   model) .22-caliber rifle, and a 50-round large capacity           semiautomatic handguns, .22-       Ruger pistol; .22-caliber Ruger         No as
                                                                           ammunition magazine. The GLOCK and rifle were                     caliber Ruger rifle                rifle
                                                                           legally purchased by Kinkel's father.


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                                                        List of Firearms Used in Public Mass Shootings
                                                                          1982 – 2019

                                                                                                                                    Weapon Description From                                                           Assault
                                                                                                                   a                                              b                                      c                       d
                          Case              Location         Date                     Citizens Crime Commission                                     Mother Jones                       Washington Post               Weapon?

                            (1)                (2)            (3)                                   (4)                                                   (5)                                  (6)                         (7)

                                                                                                                                           FIE 380, .380-caliber Star
                                                                       Universal M1 Carbine .30-caliber replica, Davis                     semiautomatic handguns; .44
                                                                                                                                                                               .22-caliber Double Deuce
                                                                       Industries .38-caliber two-shot derringer, Double Deuce             Magnum Ruger, .30-06
                                                                                                                                                                               revolver; .380-caliber Star pistol;
                                                                       Buddie .22-caliber two-shot derringer, Charter Arms .38-            Remington 742, .30-caliber
                                                                                                                                                                               .357-caliber Ruger Security six
                                                                       caliber revolver, Star .380-caliber pistol, FIE .380-caliber        Universal M-1 carbine replica
                                                                                                                                                                               revolver; .44 Magnum Ruger
                                                                       pistol, Ruger Security Six .357-caliber revolver,                   rifles; .38-caliber Charter Arms,
113. Westside Middle School           Jonesboro, AR          3/24/98                                                                                                           revolver; .30-caliber Universal M-      No at
                                                                       Ruger .44 magnum rifle, Smith & Wesson .38-caliber                  .357-caliber Ruger Security Six,
                                                                                                                                                                               1 carbine; .38-caliber Charter
                                                                       revolver, Remington 742 .30-06-caliber rifle, 15-round              .38-caliber Smith & Wesson
                                                                                                                                                                               Arms revolver; .38-caliber Smith
                                                                       large capacity ammunition magazines, three 30-round                 revolvers; .22-caliber Double
                                                                                                                                                                               & Wesson revolver; FIE 380
                                                                       large capacity ammunition magazines, and over 150-                  Deuce Buddie two-shot, .38-
                                                                                                                                                                               pistol; .30-06 Remington 742 rifle
                                                                       rounds of ammunition.                                               caliber Davis Industries two-shot
                                                                                                                                           derringers
                                                                       GLOCK model unknown 9mm semiautomatic pistol
                                                                       equipped with a 19-round large capacity ammunition
114. Connecticut Lottery              Newington, CT           3/6/98                                                                       9mm semiautomatic handgun           9mm pistol                              No
                                                                       magazine. Beck had a permit for the 9mm pistol used in
                                                                       the shooting.
                                                                       Chinese-made AK-47-type 7.62mm semiautomatic assault
                                                                       rifle and five 30-round large capacity ammunition                   7.62mm AK-47 Chinese variant        7.62mm AK-47 Chinese variant
115. Caltrans Maintenance Yard        Orange, CA            12/18/97                                                                                                                                                   Yes
                                                                       magazines. Torres legally purchased the rifle on April 30,          semiautomatic rifle                 semiautomatic rifle
                                                                       1988, from B&B Gun Sales in Orange County, CA.
116. Erie Manufacturing               Bartow, FL             12/3/97   -                                                                   -                                   -                                       No au

117. R.E. Phelon Company              Aiken, SC              9/15/97   -                                                                   9mm semiautomatic handgun           9mm pistol                              No

118. News and Sentinel                Colebrook, NH          8/20/97   -                                                                   -                                   9mm pistol, AR-15-style rifle           Yes av
                                                                                                                                                                               Mac 11 machine pistol, Tec 9
119. Fire Station                     Jackson, MS            4/25/96   -                                                                   -                                   automatic pistol, .45-caliber           No
                                                                                                                                                                               semiautomatic handgun
                                                                                                                                           9mm Glock semiautomatic             9mm Glock pistol; .32-caliber
120. Fort Lauderdale                  Fort Lauderdale, FL     2/9/96   -                                                                                                                                               No
                                                                                                                                           handgun; .32-caliber revolver       revolver
121. Little Chester Shoes             New York, NY          12/19/95   -                                                                   -                                   .9mm semiautomatic pistol               No
                                                                                                                                           -
122. Piper Technical Center           Los Angeles, CA        7/19/95   -                                                                                                       Glock semiautomatic pistol              No aw
                                                                                                                                           9mm Ruger semiautomatic             .32-caliber revolver; 9mm Ruger
123. Walter Rossler Company           Corpus Christi, TX      4/3/95   -                                                                                                                                               No
                                                                                                                                           handgun; .32-caliber revolver       pistol
124. Puppy creek                      Hoke County, NC       12/31/94   -                                                                   -                                   -                                       -

                                                                       Chinese-made Mak-90 semiautomatic assault rifle
                                                                       equipped with a 75-round drum large capacity ammunition
                                                                       magazine. He purchased the assault rifle on June 15, 1994,                                              MAK-90 semiautomatic AK-style
125. Air Force Base                   Fairchild Base, WA     6/20/94                                                                       MAK-90 semiautomatic rifle                                                  Yes ax
                                                                       five days before the shooting, and the following day                                                    rifle
                                                                       purchased 80 rounds of 7.62x39mm ammunition and a 75-
                                                                       round drum large capacity ammunition magazine.
                                                                                                                                           .25-caliber semiautomatic
126. Chuck E. Cheese                  Aurora, CO            12/14/93   -                                                                                                       .25-caliber pistol                      No
                                                                                                                                           handgun
                                                                       Ruger P89 9mm semiautomatic pistol and four 15-round
                                                                       large capacity ammunition magazines. Ferguson legally               9mm Ruger P89 semiautomatic
127. Long Island Railroad             Garden City, NY        12/7/93                                                                                                           9mm Ruger P89 pistol                    No
                                                                       acquired the weapon in California at an outlet of Turner's          handgun
                                                                       Outdoorsman.

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                                                                            1982 – 2019

                                                                                                                                Weapon Description From                                                        Assault
                                                                                                                  a                                            b                                    c                     d
                          Case                Location       Date                    Citizens Crime Commission                                  Mother Jones                      Washington Post             Weapon?

                             (1)                  (2)         (3)                                 (4)                                                  (5)                                (6)                       (7)

128. Unemployment Office                Oxnard, CA           12/2/93   -                                                               -                                  Rifle                                 -

129. Family Fitness Club                El Cajon, CA        10/14/93   -                                                               -                                  12-gauge shotgun                      No
                                                                                                                                       .22-caliber rifle; two 12-gauge    12-gauge shotgun (2); .22-caliber
130. Luigi's Restaurant                 Fayetteville, NC      8/6/93   -                                                                                                                                        No ay
                                                                                                                                       shotguns                           rifle
131. Washington County Bar              Jackson, MS           7/8/93   -                                                               -                                  -                                     -

                                                                       Two INTRATEC TEC-DC9 semiautomatic pistols, Colt
                                                                       (unknown model) .45-caliber semiautomatic pistol, and 40-
                                                                       round and 50-round large capacity ammunition magazines
                                                                                                                                       Two Intratec DC-9, .45-caliber     .45-caliber Colt pistol; Intratec
132. 101 California Street              San Francisco, CA     7/1/93   loaded with a mix of Black Talon and standard ammunition.                                                                                Yes az
                                                                                                                                       Colt semiautomatic handguns        DC-9 machine pistols
                                                                       According to the Las Vegas Metropolitan Police Department,
                                                                       Ferri purchased the pistols from two stores in Las Vegas:
                                                                       Super Pawn and Pacific Tactical Weapons.

133. Card club                          Paso Robles, CA      11/8/92   -                                                               -                                  -                                     No ba
                                                                                                                                       9mm Llama semiautomatic
134. Watkins Glen                       Watkins Glen, NY    10/15/92   -                                                                                                  9mm Llama pistol                      No
                                                                                                                                       handgun
                                                                                                                                       .22-caliber sawed-off rifle; 12-   .22-caliber sawed-off rifle; 12-
135. Lindhurst High School              Olivehurst, CA        5/1/92   -                                                                                                                                        No bb
                                                                                                                                       gauge pump-action shotgun          gauge pump-action shotgun
136. Phoenix                            Phoenix, AZ          3/15/92   -                                                               -                                  -                                     -
                                                                                                                                       .22-caliber Ruger sawed-off        .22-caliber Ruger sawed-off
137. Royal Oak Postal                   Royal Oak, MI       11/14/91   -                                                                                                                                        No bc
                                                                                                                                       semiautomatic rifle                semiautomatic rifle
138. Restaurant                         Harrodsburg, KY     11/10/91   -                                                               -                                  .357 Magnum                           No

139. University of Iowa                 Iowa City, IA        11/1/91   -                                                               .38-caliber Taurus revolver        .38-caliber Taurus revolver           No
                                                                       GLOCK 17 9mm semiautomatic pistol, Ruger P89
                                                                       semiautomatic pistol, and 17-round and 15- round large
                                                                                                                                       9mm Glock 17, 9mm Ruger P89        9mm Glock 17 pistol; 9mm Ruger
140. Luby's Cafeteria                   Killeen, TX         10/16/91   capacity ammunition magazines. Hennard legally                                                                                           No
                                                                                                                                       semiautomatic handguns             P89 pistol
                                                                       purchased the weapons from Mike's Gun Shop in
                                                                       Henderson, NV, in February and March of 1991.
                                                                                                                                                                          9mm Uzi machine pistol, .22-
141. Post office                        Ridgewood, NJ       10/10/91   -                                                               -                                                                        Yes
                                                                                                                                                                          caliber machine gun
                                                                       Universal M1 .30-caliber semiautomatic assault rifle,
                                                                                                                                       .30-caliber Universal M1 carbine   .30-caliber Universal M1 carbine;
142. GMAC                               Jacksonville, FL     6/18/90   unknown make and model .38-caliber revolver, and a 30-                                                                                   No bd
                                                                                                                                       rifle; .38-caliber revolver        .38-caliber revolver
                                                                       round large capacity ammunition magazine.
                                                                       Chinese-made AK-47-type semiautomatic assault rifle,
                                                                       two INTRATEC MAC-11 semiautomatic assault pistols, SIG          Two Intratec MAC-11, 9mm SIG       9mm SIG Sauer pistol; AK-47
                                                                       SAUER unknown model 9mm semiautomatic pistol,                   Sauer semiautomatic handguns;      Chinese variant semiautomatic
143. Standard Gravure Corporation       Louisville, KY       9/14/89   unknown make and model .38-caliber revolver, and 30-round       AK-47 Chinese variant              rifle; Intratec MAC-11 machine        Yes
                                                                       large capacity ammunition magazines. Wesbecker legally          semiautomatic rifle; .38-caliber   pistol; .38-caliber revolver; 9mm
                                                                       purchased the AK-47-type assault rifle from Tilford's Gun       revolver                           SIG Sauer pistol
                                                                       Sales in Louisville.




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                                                                                  Appendix C
                                                                List of Firearms Used in Public Mass Shootings
                                                                                  1982 – 2019

                                                                                                                                             Weapon Description From                                                          Assault
                                                                                                                               a                                            b                                     c                       d
                          Case                      Location             Date                     Citizens Crime Commission                                  Mother Jones                       Washington Post              Weapon?

                           (1)                         (2)                (3)                                   (4)                                                 (5)                                     (6)                    (7)

                                                                                   Chinese-made AK-47-type semiautomatic assault rifle,
                                                                                   Taurus unknown model 9mm semiautomatic pistol, a 75-
                                                                                   round large capacity ammunition drum magazine, a 75-round
                                                                                   large capacity ammunition rotary magazine, and four 35-          9mm Taurus semiautomatic            9mm Taurus pistol; AK-47
144. Stockton Schoolyard                      Stockton, CA               1/17/89   round large capacity ammunition banana magazines. Purdy          handgun; AK-47 Chinese variant      Chinese variant semiautomatic          Yes
                                                                                   legally purchased the AK-47-type rifle at Sandy Trading Post,    semiautomatic rifle                 rifle
                                                                                   in Sandy, OR on August 3, 1988, and the Taurus 9mm pistol
                                                                                   at Hunter Loan and Jewelry Co. in Stockton, CA on
                                                                                   December 28, 1988.
145. Montefiore School                        Chicago, IL                9/22/88   -                                                                -                                   .38-caliber revolver                   No

146. Old Salisbury Road                       Winston-Salem, NC          7/17/88   -                                                                -                                   .22-caliber rifle                      No
                                                                                                                                                    .380 ACP Browning, 9mm Smith        .22 Sentinel WMR revolver; 9mm
                                                                                                                                                    & Wesson semiautomatic              Smith & Wesson pistol; Mossberg
                                                                                                                                                    handguns; Ruger M-77 .22-250        12-gauge pump-action shotgun;
                                                                                                                                                    bolt-action rifle with scope;       Ruger M-77 .22-250 bolt-action
147. ESL                                      Sunnyvale, CA              2/16/88   -                                                                Mossberg 12-gauge pump-action,      rifle with scope; .380 AP              No be
                                                                                                                                                    12-gauge Benelli semiautomatic      Browning pistol; 12-gauge
                                                                                                                                                    shotguns; .357 Magnum Smith &       Benelli semiautomatic shotgun;
                                                                                                                                                    Wesson, .22 Sentinel WMR            .357 Magnum Smith & Wesson
                                                                                                                                                    revolvers                           revolver;
                                                                                   Strum, Ruger Mini-14 semiautomatic assault rifle
                                                                                   equipped with a 30-round large capacity ammunition
                                                                                   magazine, five 30-round large capacity ammunition
                                                                                                                                                    Sturm, Ruger Mini-14                .357 Ruger Blackhawk revolver;
                                                                                   magazines, 180 rounds of ammunition, a shotgun
                                                                                                                                                    semiautomatic rifle; 20-gauge       Ruger Mini-14 semiautomatic
148. Shopping Centers                         Palm Bay, FL               4/23/87   (unknown make and model), and a pistol (unknown make                                                                                        No bf
                                                                                                                                                    Winchester pump-action shotgun;     rifle; Sturm; 20-gauge Winchester
                                                                                   and model). Cruse ordered the assault rifle on March 21,
                                                                                                                                                    .357 Ruger Blackhawk revolver       pump-action
                                                                                   1987. On April 17, 1987, he purchased 100-rounds of
                                                                                   ammunition and six 30-round large capacity ammunition
                                                                                   magazines.
                                                                                                                                                    .22-caliber, two .45-caliber Colt   .45-caliber Colt Model 1911-A1
149. United States Postal Service             Edmond, OK                 8/20/86   -                                                                Model 1911-A1 semiautomatic         pistol; .45-caliber Colt Model         -         bg
                                                                                                                                                    handguns                            1911-A1 pistol; .22-caliber pistol

150. Anchor Glass Container Corporation       South Connellsville, PA    3/16/85   -                                                                -                                   .38-caliber snub-nosed revolver        No

151. Other Place Lounge                       Hot Springs, AR            7/24/84   -                                                                -                                   .45-caliber semiautomatic pistol       No

                                                                                                                                                    9mm Browning P35 Hi-Power
                                                                                                                                                                                        9mm Israeli Military industries
                                                                                                                                                    semiautomatic handgun; 9mm
                                                                                                                                                                                        Uzi Model A machine pistol, 12-
                                                                                                                                                    Israeli Military Industries Uzi
152. San Ysidro McDonald's                    San Ysidro, CA             7/18/84   -                                                                                                    gauge Winchester 1200 pump-            Yes
                                                                                                                                                    Model A carbine semiautomatic
                                                                                                                                                                                        action shotgun, 9mm Browning
                                                                                                                                                    rifle; 12-gauge Winchester 1200
                                                                                                                                                                                        P35 Hi-Power pistol
                                                                                                                                                    pump-action shotgun
                                                                                                                                                    9mm Smith & Wesson 459
153. Dallas Nightclub                         Dallas, TX                 6/29/84   -                                                                                                    9mm Smith & Wasson 459 pistol          No bh
                                                                                                                                                    semiautomatic handgun
                                                                                                                                                                                        .30-06-caliber Ruger single-shot
154. Alaska Mining Town                       Manley Hot Springs, AK     5/17/84   -                                                                -                                                                          No
                                                                                                                                                                                        rifle
155. College Station                          Collge Station, TX        10/11/83   -                                                                -                                   -                                      No bi


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                                                                                       1982 – 2019

                                                                                                                                                           Weapon Description From                                                                    Assault
                                                                                                                                             a                                             b                                            c                       d
                           Case                                 Location             Date                         Citizens Crime Commission                                  Mother Jones                             Washington Post               Weapon?

                             (1)                                   (2)                (3)                                    (4)                                                     (5)                                      (6)                       (7)

                                                                                                                                                                                                              .223-caliber Ruger Mini-14
156. Alaska Back-County                                 McCarthy, AK                 3/1/83      -                                                                  -                                         semiautomatic rifle, .22-caliber          No
                                                                                                                                                                                                              pistol
157. Upper West Side Hotel                              New York, NY                 2/3/83      -                                                                  -                                         -                                         No bj

158. The Investor                                       Noyes Island, AK             9/6/82      -                                                                  -                                         .22-caliber                               No
                                                                                                                                                                    Mossberg 500 Persuader pump-
159. Welding Shop                                       Miami, FL                   8/20/82      -                                                                                                            12-gauge shotgun                          No
                                                                                                                                                                    action shotgun with pistol grip
                                                                                                                                                                                                              .38-caliber revolver, .25-caliber
160. Western Transfer Co.                               Grand Prairie, TX            8/9/82      -                                                                  -                                                                                   No
                                                                                                                                                                                                              semiautomatic pistol, carbine rifle

161. Russian Jack Springs Park                          Anchorage, AK                5/3/82      -                                                                  -                                         .38-caliber pistol                        No

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                                                                                                                                                         Weapon Description From                                                                 Assault
                                                                                                                                           a                                             b                                      c                          d
                         Case                                 Location              Date                      Citizens Crime Commission                                    Mother Jones                       Washington Post                  Weapon?

                           (1)                                   (2)                    (3)                                (4)                                                   (5)                                  (6)                          (7)

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                                                                                                                                                       Weapon Description From                                                                   Assault
                                                                                                                                                a                                      b                                          c                        d
                          Case                                 Location               Date                        Citizens Crime Commission                              Mother Jones                            Washington Post                Weapon?

                           (1)                                    (2)                  (3)                                      (4)                                            (5)                                          (6)                     (7)

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                                                                  List of Firearms Used in Public Mass Shootings
                                                                                    1982 – 2019

                                                                                                                                                     Weapon Description From                                                                       Assault
                                                                                                                                        a                                            b                                          c                            d
                         Case                                Location              Date                    Citizens Crime Commission                                   Mother Jones                           Washington Post                  Weapon?

                          (1)                                   (2)                 (3)                                 (4)                                                  (5)                                      (6)                            (7)

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